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                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      ALEXANDER J. HARWIN, SB# 225254
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                      633 West 5th Street, Suite 4000
                    3 Los Angeles, California 90071
                      Telephone: 213.250.1800
                    4 Facsimile: 213.250.7900
                    5 Attorneys for Defendant, Amplity, Inc.
                    6
                    7
                    8                                  UNITED STATES DISTRICT COURT
                    9                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   10
                   11 RUKIYA GORDON, an individual,                      Case No.
                   12                     Plaintiff,                     HARWIN DECLARATION IN
                                                                         SUPPORT OF NOTICE OF
                   13            vs.                                     REMOVAL OF CIVIL ACTION
                                                                         UNDER 28 U.S.C. § 1441(b)
                   14 AMPLITY HEALTH, an unknown                         [DIVERSITY OF CITIZENSHIP]
                      business entity, AMPLITY, INC., a
                   15 corporation and DOES 1-10, DOES 11-                Trial Date:          None Set
                      20 and DOES 21-20, inclusive,
                   16
                                   Defendants.
                   17
                   18
                   19            I , Alexander J. Harwin, declare as follows:
                   20            1.       I am an attorney duly admitted to practice in all of the courts of the
                   21 State of California and I am a partner with Lewis Brisbois Bisgaard & Smith LLP,
                   22 attorneys of record for Amplity, Inc. The facts set forth herein are of my own
                   23 personal knowledge, and if sworn I could and would competently testify thereto.
                   24 / / /
                   25 / / /
                   26 / / /
                   27 / / /

LEWIS              28 / / /
BRISBOIS                133435440.1
BISGAARD
& SMITH LLP                           HARWIN DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION
ATTORNEYS AT LAW                                UNDER 28 U.S.C. §1441(b) [DIVERSITY OF CITIZENSHIP]
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                    1         2.       On October 31, 2023, Plaintiff Rukiya Gordon (“Plaintiff”), by and
                    2 through her attorney, filed a civil action against Defendant, Amplity, Inc. in the
                    3 Superior Court of the State of California for the County of Los Angeles, entitled
                    4 Rukiya Gordon vs. Amplity Health, et. al., Case No. 23AVCV01245 (“Complaint”).
                    5 On February 20, 2024, Plaintiff’s counsel Steven Waisbren sent me an e-mail
                    6 attaching the Notices of Acknowledgement and Receipts, along with the Summons,
                    7 Complaint, and associated documents for both Amplity, Inc and Amplity Health. A
                    8 true and correct copy of the Summons and Complaint, and other accompanying
                    9 documents filed on October 31, 2023 in this matter and provided to me by Mr.
                   10 Waisbren on February 20, 2024 as to Amplity, Inc. are attached hereto as Exhibit 1.
                   11         3.       On February 20, 2024, Plaintiff’s counsel Steven Waisbren wrote to me
                   12 to advise that a Case Management Conference has been scheduled for February 28,
                   13 2024 at 8:30 a.m. in Dept. A15 of the Antelope Valley courthouse.
                   14         4.       On February 27, 2023, I executed the Notice of Acknowledgment of
                   15 Receipt for Amplity, Inc. and instructed my secretary to e-mail it to Plaintiff’s
                   16 counsel which she did. As “Amplity Health” is a trade name and not an entity
                   17 separate from Amplity, Inc., I solely executed Notice of Acknowledgment of
                   18 Receipt for Amplity, Inc. A true and correct copy of my execution of the Notice of
                   19 Acknowledgment of Receipt for Amplity, Inc. is attached hereto as Exhibit 2.
                   20         5.       On February 27, 2023, Defendant filed an answer to Plaintiff’s
                   21 complaint. A true and correct copy of Defendant’s answer to Plaintiff’s complaint is
                   22 attached as Exhibit 3.
                   23         6.       I have practiced law as an attorney since June 2003 and have spent the
                   24 majority of my practice since 2008 defending employers and their employees.
                   25 Based upon my experience in this field, I conservatively estimate Plaintiff’s
                   26 counsel’s hourly rate to be at or in excess of $350 per hour. Based on my
                   27 experience in this field, I conservatively estimate that the amount in controversy in

LEWIS              28 this case, inclusive of attorneys’ fees and potential punitive damages, well exceeds
BRISBOIS              133435440.1                                 2
BISGAARD
& SMITH LLP                        HARWIN DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION
ATTORNEYS AT LAW                             UNDER 28 U.S.C. §1441(b) [DIVERSITY OF CITIZENSHIP]
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                    1 $75,000. My estimate is based upon damages award trends in similar employment
                    2 cases and my litigation experience over the years.
                    3            7.       My office will promptly serve a copy of Defendant’s Notice of
                    4 Removal and all supporting papers on Plaintiff’s counsel and will also promptly file
                    5 a copy of the Notice and all supporting papers with the Clerk of the Superior Court
                    6 for the State of California, County of Los Angeles.
                    7            I declare under penalty of perjury under the laws of the United States of
                    8 America that the foregoing is true and correct and that this declaration was executed
                    9 on this 27th day of February, 2024, at Los Angeles, California.
                   10
                   11
                   12
                   13                                              ALEXANDER J. HARWIN
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BISGAARD
& SMITH LLP                           HARWIN DECLARATION IN SUPPORT OF NOTICE OF REMOVAL OF CIVIL ACTION
ATTORNEYS AT LAW                                UNDER 28 U.S.C. §1441(b) [DIVERSITY OF CITIZENSHIP]
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                       EXHIBIT “1”
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     Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 7 of 106 Page ID #:45
                                                                                   CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                        Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                       Contract (not unlawful detainer            Construction Defect (10)
       case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort (40)
       motorist claim subject to                       Contract/Warranty Breach–Seller                 Securities Litigation (28)
       arbitration, check this item                         Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
       instead of Auto)                                Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
        Asbestos Personal Injury/                      Other Promissory Note/Collections                       County)
              Wrongful Death                                Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or            Insurance Coverage (not provisionally                  domestic relations)
         toxic/environmental) (24)                     complex) (18)                                 Sister State Judgment
     Medical Malpractice (45)                          Auto Subrogation                              Administrative Agency Award
          Medical Malpractice–                         Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons               Other Contract (37)                               Petition/Certification of Entry of
     Other Professional Health Care                    Contractual Fraud                                  Judgment on Unpaid Taxes
             Malpractice                               Other Contract Dispute                        Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Property                                               Case
          Premises Liability (e.g., slip           Eminent Domain/Inverse                         Miscellaneous Civil Complaint
               and fall)                               Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                            Other Complaint (not specified
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)            above) (42)
          Intentional Infliction of                    Writ of Possession of Real Property                 Declaratory Relief Only
               Emotional Distress                      Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                      Quiet Title                                              harassment)
                Emotional Distress                     Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                               domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business              Unlawful Detainer                                          Other Civil Complaint
         Practice (07)                             Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,           Residential (32)                               Miscellaneous Civil Petition
           false arrest) (not civil                Drugs (38) (if the case involves illegal          Partnership and Corporate
           harassment) (08)                        drugs, check this item; otherwise,                     Governance (21)
     Defamation (e.g., slander, libel)             report as Commercial or Residential)              Other Petition (not specified
            (13)                                Judicial Review                                           above) (43)
     Fraud (16)                                    Asset Forfeiture (05)                                  Civil Harassment
     Intellectual Property (19)                    Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                  Writ of Mandate (02)                                   Elder/Dependent Adult
         Legal Malpractice                             Writ–Administrative Mandamus                            Abuse
         Other Professional Malpractice                Writ–Mandamus on Limited Court                     Election Contest
              (not medical or legal)                       Case Matter                                    Petition for Name Change
     Other Non-PI/PD/WD Tort (35)                      Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
     Wrongful Termination (36)                     Other Judicial Review (39)                             Other Civil Petition
     Other Employment (15)                             Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                           Page 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
This Form button after you have printed the form.            Print this form           Save this form                        Clear this form
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 8 of 106 Page ID #:46
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Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 11 of 106 Page ID #:49
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 12 of 106 Page ID #:50
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 13 of 106 Page ID #:51
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 1                                                         Public Policy, FEHA, Gov. Code,
                                                           Sections 12940, et.seq.
 2
                                                  8.       Retaliation for Asserting Rights with
 3                                                         Regard to Religious Creed and
                                                           Religious Beliefs (FEHA, Gov. Code,
 4
                                                           Sections 12940, et.seq.)
 5                                                9.       Failure to Provide Reasonable and
                                                           Proper Accommodation (FEHA; Gov.
 6
                                                           Code 12940, et.seq.)
 7                                                10.      Failure to Engage In An Interactive
                                                           Process (FEHA; Gov. Code, Sections
 8
                                                           12940, et.seq.)
 9                                                11.      Religious Discrimination In Violation
                                                           of the California Constitution, Art. 1,
10                                                         Section 8
11                                                12.      Violation of Labor Code, Section 432.6
                                                  13.      Failure To Prevent Discrimination
12                                                         And Retaliation – (Gov. Code, Section
13                                                         12940(k))
                                                  14.      Negligent Supervision And Training
14                                                         of Employees
15                                                15.      Prohibited and Discriminatory Non
                                                           Job-Related Inquiry As Part Of
16                                                         Employment Interview –
17                                                         Discriminatory Hiring Practices
                                                           (Government Code, Section 12940(d))
18                                                16.      Discrimination Based Upon Opposing
19                                                         Forbidden Practices By Defendants
                                                           (Gov. Code, Section 12940(h))
20
21                                                         DEMAND FOR JURY TRIAL

22
23
24
            COMES NOW PLAINTIFF RUKIYA GORDON ("Plaintiff") complains and alleges

25   against the above-named Defendants, AMPLITY HEALTH, an unknown business entity,

26   AMPLITY, INC, a corporation, and DOES 1-10, DOES 11-20, and DOES 21-30, inclusive,

27   (collectively "Defendants"), and each of them, for causes of action as follows:
28

                                                       2
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 15 of 106 Page ID #:53




 1                                    GENERAL ALLEGATIONS
 2          1.       Plaintiff brings this action under California state law for, among other things,
 3   retaliation, wrongful termination, and discrimination directed toward Plaintiff in the workplace
 4   during her employment with Defendants, and each of them, and other causes of action. As
 5
     stated herein, Plaintiff's work environment with Defendants was fraught with adverse
 6
     conditions, terms, conduct, and provisions, as well as a denial of privileges to which Plaintiff
 7
     was entitled.   Plaintiff is informed and believes, and thereon alleges, that said adverse
 8
     conditions, terms, conduct, provisions, and denial of privileges endured by Plaintiff was based
 9
     upon Plaintiff's religious faith. Said adverse conditions, terms, conduct, provisions, and denial
10
     of privileges was rampant, blatant, and demonstrated a malicious intent and/or conscious
11
     disregard for state and federal laws which prohibit such religious discrimination.
12
     Notwithstanding Plaintiff's inquiries regarding the wrongful treatment of Plaintiff herein,
13
     Defendants took no action to remedy the adverse and discriminatory conditions existing in
14
15   Defendants' workplace. Instead, Defendants, and each of them, embarked on a retaliatory

16   campaign to deny Plaintiff employment benefits, including promotions, transfers, and

17   ultimately to fabricate some basis to wrongfully justify Plaintiff's involuntary termination.

18          2.       Jurisdiction is proper in this Court because alleged damages exceed $25,000.
19   Venue is proper in this Court because the employment relationship was formed in this County,
20   and Plaintiff primarily performed her employment duties in and around the County of Los
21   Angeles, State of California.
22          3.       Whenever, in this Complaint, a reference is made to "and each of them" when
23   referring to Defendants, such allegation shall be deemed to mean the referenced Defendants
24   individually, jointly and/or severally.
25
            4.       Whenever, in this Complaint, a reference is made to "at all relevant times,"
26
     such allegation shall be deemed to mean Plaintiff's employment with Defendants, and each of
27
     them, up through the date of termination of the employment relationship between Plaintiff and
28
     Defendants, and each of them, respectively.
                                                     3
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1                                           THE PARTIES
 2          5.       Plaintiff is, and at all relevant times herein was, an individual residing in the
 3   County of Los Angeles, State of California.         At all relevant times herein, Plaintiff was
 4   employed by Defendants, and each of them, as a Pharmaceutical Sales Representative.
 5
            6.       Plaintiff is informed and believes, and on that basis alleges, that Defendant
 6
     AMPLITY HEALTH, an unknown business entity, engaged in the provision of pharmaceutical
 7
     products, and other medical services. AMPLITY HEALTH is authorized to do business, and
 8
     doing business, in the State of California. At all relevant times herein, AMPLITY HEALTH
 9
     was the employer of Plaintiff in the State of California.
10
            7.       Plaintiff is informed and believes, and on that basis alleges, that Defendant
11
     AMPLITY, INC, a corporation, engaged in the provision of pharmaceutical products, and
12
     other medical services. AMPLITY, INC. is authorized to do business, and doing business, in
13
     the State of California. At all relevant times herein, AMPLITY, INC. was the employer of
14
15   Plaintiff in the State of California.

16          8.       Plaintiff is ignorant of the true names and capacities of Defendants sued herein

17   as DOES 1-10, but is informed and believes that DOES 1-10 are business entities (form

18   unknown) and employers (joint or otherwise) of Plaintiff. Plaintiff is ignorant of the true
19   names and residences of Defendants sued herein as DOES 11-20, but is informed and believes
20   that DOES 11-20 are natural persons (individuals) and employers (joint or otherwise) of
21   Plaintiff. Plaintiff is ignorant of the true names and capacities of Defendants sued herein as
22   DOES 21-30. Based upon the foregoing, Plaintiff sues DOES 1-10, DOES 11-20, and DOES
23   21-30 (collectively "DOE DEFENDANTS") by such fictitious names and capacities. Plaintiff
24   will amend this complaint to show said DOE DEFENDANTS’ true names and capacities when
25
     they have been ascertained. Plaintiff is informed and believes, and on that basis alleges, that
26
     each of the DOE DEFENDANTS acted wrongfully, maliciously, intentionally and negligently;
27
     violated federal and state law, as alleged in this Complaint; that each is legally responsible in
28
     some manner for the events, happenings, and/or occurrences alleged in this Complaint; and
                                                     4
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 17 of 106 Page ID #:55




 1   that the injuries and damages of Plaintiff were proximately caused by DOE DEFENDANTS,
 2   either through their own conduct or through the conduct of their agents and/or employees.
 3   (AMPLITY HEALTH, AMPLITY, INC., and DOE DEFENDANTS will be collectively
 4   referred to as “Defendants”)
 5
            9.         Plaintiff is informed and believes, and on that basis alleges, that, at all relevant
 6
     times herein, Defendants, and each of them, maintained offices, operated businesses,
 7
     employed persons, conducted business in, and paid employees in the County of Los Angeles,
 8
     State of California.
 9
            10.        Plaintiff is informed and believes, and on that basis alleges, that Defendants,
10
     and each of them, is, and at all times relevant hereto was, a person, corporation or other
11
     business entity existing and operating within the confines of the State of California, and thus
12
     subject to the jurisdiction of the California courts by reason of "minimum contacts" in
13
     California, and/or by purposeful availment of the California market for labor of the kind
14
15   provided by Plaintiff, and did transact and conduct business in the State of California, and are

16   thus subject to the jurisdiction of all laws, regulations and court decisions rendered by the

17   State of California.

18
19                       AGENCY AND JOINT EMPLOYER ALLEGATIONS
20          11.        Plaintiff is informed and believes, and thereon alleges, that, at all relevant
21   times herein, Defendants, and each of them, were the partner, officer, director, agent,
22   employee, servant and/or representative of each of the remaining Defendants, and in doing the
23   things as alleged in this Complaint, were acting within the course, scope, and/or authority of
24   such agency, service, employment, partnership and/or joint venture, and with the consent,
25
     knowledge, approval and ratification of each of the other Defendants.
26
            12.        Plaintiff is informed and believes, and on that basis alleges, that Defendants,
27
     and each of them, at all relevant times herein:
28
                  a.        Managed the business for which Plaintiff was employed;
                                                        5
                                 COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                        AND STATUTORY PENALTIES
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 1              b.      Exercised and/or employed direct control over the wages, hours, and
 2        working conditions of Plaintiff, whether personally or through an agent or any other
 3        person;
 4              c.      Exercised and/or employed indirect control over the wages, hours, and
 5
          working conditions of Plaintiff, whether personally or through an agent or any other
 6
          person;
 7
                d.      Authorized, directed, sanctioned, consented, cooperated, approved, aided,
 8
          instigated, assisted, participated in, made the decision to, and/or voted for the disparate
 9
          and/or wrongful treatment of Plaintiff as one who follows and respects her religious
10
          faith, with respect to, among other things, hiring, promotions, transfers, continued
11
          employment, payment of wages, wrongful treatment of Plaintiff based upon her religion
12
          and religious faith, retaliation against Plaintiff as a direct result of her justified refusal
13
          to succumb to Defendants’ demands that Plaintiff accept the Covid vaccine, and
14
15        termination of Plaintiff from her employment due to her religion, and other bases

16        according to proof at the time of trial;

17              e.      Authorized, directed, sanctioned, consented, cooperated, approved, aided,

18        instigated, assisted, participated in, made the decision to, and/or voted for the tortious
19        and unlawful acts of commission or omission which are in violation of the applicable
20        state and federal law, as alleged in this Complaint, and incorporated herein by
21        reference;
22              f.      Authorized, directed, sanctioned, consented, cooperated, approved, aided,
23        instigated, assisted, participated in, made the decision to, and/or voted for the tortious
24        and unlawful acts of commission or omission which caused the other Defendants, and
25
          each of them, to violate the applicable state and federal law, as alleged in this
26
          Complaint, and incorporated herein by reference;
27
                g.      Authorized, directed, sanctioned, consented, cooperated, approved, aided,
28
          instigated, assisted, participated in, made the decision to, and/or voted for the tortious
                                                     6
                             COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                    AND STATUTORY PENALTIES
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 1        and unlawful acts of commission or omission which have operated to the injury and
 2        prejudice of Plaintiff, as alleged in this Complaint, and incorporated herein by
 3        reference;
 4              h.      Knew or reasonably should have known that his/her/its conduct and/or
 5
          conduct under his/her/its control was in violation of the applicable state and federal law,
 6
          and he/she/it failed to take or order appropriate action to remedy and/or avoid the
 7
          violations of the applicable state and federal law, as alleged in this Complaint, and
 8
          incorporated herein by reference;
 9
                i.      Knew or reasonably should have known that his/her/its conduct and/or
10
          conduct under his/her/its control caused the other Defendants, and each of them, to
11
          violate the applicable state and federal law, and he/she/it failed to take or order
12
          appropriate action to remedy and/or avoid the violations of the applicable state or
13
          federal law by the other Defendants, and each of them, as alleged in this Complaint, and
14
15        incorporated herein by reference;

16              j.      Knew or reasonably should have known that his/her/its conduct and/or

17        conduct under his/her/its control was injuring Plaintiff and he/she/it failed to take or

18        order appropriate action to avoid the harm;
19              k.      Acting in concert, knowingly and willfully conspired among themselves
20        and agreed to and did institute a plan pursuant to which the Defendants, and each of
21        them, required Plaintiff to endure the wrongful, illegal, and discriminatory conduct of
22        Defendants, and each of them;
23              l.      Furthered the conspiracy by cooperation with or lent aid and
24        encouragement to or ratified and adopted the acts of each of the other Defendants, and
25
          each of them, including, but not limited to, their refusal and failure to ensure that
26
          Plaintiff would not be subjected to a hostile work environment, as alleged herein, and
27
          instead voting for or otherwise approving continuing unlawful and discriminatory
28
          practices, refusing to properly investigate and ensure Plaintiff was treated in
                                                   7
                            COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                   AND STATUTORY PENALTIES
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 1            compliance with the applicable state and federal law, as alleged in this Complaint, and
 2            instead voting for or otherwise approving continued violations of the applicable state
 3            and federal law, and breaches of duty.
 4
 5
                          FACTS COMMON TO ALL CAUSES OF ACTION
 6
        13.         Plaintiff had been employed by Defendants for approximately 12 years as a
 7
     pharmaceutical sales representative. She had a flawless and successful record, including
 8
     numerous commendations.         Plaintiff was a top seller, and she received various awards,
 9
     including, but not limited to, the coveted Pinnacle of Excellence award. She was recognized
10
     by her superiors as “the type of leadership and performance that will continue to make our
11
     company great year after year,” and “being the model for others to follow.”             Her job
12
     performance evaluations consistently stated that she both meets and exceeds expectations.
13
        14.         On March 29, 2021, Plaintiff had obtained a medical report from her physician
14
15   stating that the Covid vaccine was not medically advisable for her.

16      15.         On September 8, 2021, Defendants advised Plaintiff that she would have to

17   undergo the administration of the Covid vaccine as a further condition of her employment.

18   Due to Plaintiff’s sincerely held religious beliefs and physician-approved medical limitations,
19   this was problematic for her. On September 16, 2021, Plaintiff, through correspondence from
20   her counsel, made a request for a religious exemption from the Covid vaccine, as well as for a
21   reasonable accommodation.
22      16.           Thereafter, Defendants advised Plaintiff that any such request would have to
23   follow company policies by submitting an official request through a specific form provided by
24   Defendants. The exemption request form had an attachment stating the Defendants’ Covid 19
25
     vaccination exemption policy, which read as follows:
26
               “Amplity Health (hereinafter the “Company”) is committed to providing
27             equal employment opportunities without regard to any protected status and a
               work environment that is free of unlawful harassment, discrimination, and
28
               retaliation. As such, the Company is committed to complying with all laws
                                                       8
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1            protecting employees’ religious beliefs and practices. When requested, the
              Company will provide an exemption/reasonable accommodation for
 2
              employees’ religious beliefs and practices which prohibit the employee from
 3            receiving a COVID-19 vaccine, provided the requested accommodation is
              reasonable and does not create an undue hardship for the Company or pose a
 4
              direct threat to the health and/or safety of others in the workplace and/or to the
 5            requesting employee.
 6
              “To request an Exemption related to the Company’s COVID-19 vaccination
 7            policy, please complete this form and return it to Human Resources
              (humanresources@amplity.com). This information will be used by Human
 8
              Resources or other Company officials to engage in an interactive process to
 9            determine eligibly for and to identify possible accommodations. If an
              employee refuses to provide such information, the employee’s refusal may
10            impact the Company’s ability to adequately understand the employee’s
11            request or effectively engage in the interactive process to identify possible
              accommodations.”
12
13
        17.        On October 6, 2021, Plaintiff, pursuant to Defendants’ company policies and
14
     California law, submitted an official, proper, and timely request for an exemption from the
15
     Defendants’ vaccine mandate based upon her religious beliefs.
16
        18.        Specifically, Plaintiff’s formal request for a religious exemption, and concurrent
17
     accommodation, stated the following:
18
                “This vaccine mandate is a gross violation of my currently held religious
19              beliefs. The Bible teaches me that my body is the temple of God (1
20              Corinthians 6:19). As a living temple, I believe that I must protect my body,
                and keep it as holy as I can, and that I must not put any harmful substances
21              into my body, nor take any action that unnecessarily risks my health. (1
22              Corinthians 3:17) “If any man defile the temple of God, him shall God
                destroy, for the temple of God is holy, which temple ye are.” This is a belief
23              that I observe daily in my choice of diet, strict avoidance of tobacco, as well
24              as engaging in other health practices. I have made a substantial effort to
                investigate the risks and benefits of receiving a COVID-19 vaccine. I have
25              learned that the vaccines available at this time carry substantial risks,
26              including risks of adverse reactions like myocarditis, pericarditis, blood clots,
                severe allergic reactions, and death. I am aware that fully vaccinated persons
27              can contract, transmit and die from complications resulting from the COVID-
28              19 infection and it's variants even after being fully vaccinated. In addition to
                teaching me that my body is the temple of God, the Bible also teaches me
                                                      9
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1                about the sanctity of the life of unborn children. It teaches specifically that
                  life begins at conception and that I must not endorse the killing of unborn
 2
                  children directly nor indirectly for any purpose. It is an abomination in the
 3                eyes of my God. It is a known fact that aborted fetal cells of unborn human
                  beings were used in the testing and development of the COVID-19 vaccines.
 4
                  The vaccines used one of two aborted human fetal cell lines: HEK-293
 5                (Human Embryonic Kidney 293) taken from a female fetus and PER.C6, a
                  cell line developed from human embryonic retinal cells. It is my sincere
 6
                  religious belief that for me to benefit from the murder of innocent human life
 7                of pre-born children is immoral and a sin against my God and those murdered
                  children. Even if the safety and efficacy of the vaccines were certain and the
 8
                  danger of the disease greater, I cannot in good conscience receive a COVID-
 9                19 vaccine. Finally, there is zero legal authority for any employer to mandate
                  or require any employee to go against their moral and religious beliefs
10                regarding this matter.”
11
12          19.      After consideration by Defendants (the comprehensiveness and scope of which
13   is unknown as of the filing date of this Complaint) of both her religious exemption and
14   accommodation requests, Plaintiff’s requests were denied in toto (with the single and
15   temporary exception alleged hereinbelow). Plaintiff was never offered any legal or factual
16   justification for that denial.
17          20.      Plaintiff then requested the opportunity to submit an additional exemption
18
     request based upon medical concerns, as previously detailed by her physician. Plaintiff’s
19
     supervisor advised that such an additional exemption request would be futile, since the
20
     “decision had already been made,”
21
            21.      In an obvious effort to save face, and to somehow limit their potential liability,
22
     Defendants offered Plaintiff an illegally inadequate accommodation which was intended more
23
     as a bludgeon to force Plaintiff’s compliance, rather than as a sincere and genuine effort to
24
     accommodate her medical and religious limitations to permit her continued employment. In
25
     particular, Defendants offered Plaintiff the opportunity to continue in her position without
26
27
     undergoing the vaccine injection, on the condition that she would have to submit a negative

28   Covid test every 72 hours, and wear a mask when in-person interactions were required.
     Although Plaintiff was agreeable to this “accommodation” in principle, it was limited to only
                                                      10
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   30 days.     Thereafter, Plaintiff would be terminated from her employment, regardless of
 2   negative Covid testing or masking compliance, if she continued her refusal to receive the
 3   vaccine injection. This offer of “accommodation” to Plaintiff was wholly deficient, and it was
 4   the result of Defendants’ refusal to engage in a sincere and good faith effort to conduct an
 5
     appropriate interactive process, as required by California law. The decision to place Plaintiff
 6
     on a limited thirty (30) day employment schedule, with subsequent termination if Plaintiff did
 7
     not agree to receive the vaccine, were both summarily applied without any regard for
 8
     Defendants’ legal obligation to determine whether reasonable accommodations were feasible.
 9
     In this case, reasonable accommodations were certainly available.
10
            22.     Further, under the plan proposed by Defendants, any costs or expenses
11
     associated with each testing process would have to be shouldered by Plaintiff (in violation of
12
     California Labor Code, Section 2802).
13
            23.     Defendants refused to engage in any interactive process to determine whether
14
15   Plaintiff was entitled to a Covid-19 religious exemption or any accommodation whatsoever.

16          24.     During the interim, Plaintiff continued with her employment in compliance with

17   the 30-day cut-off policy imposed on her, and she also continued her refusal to accept the

18   vaccine.     During this 30-day time period, Plaintiff worked exclusively remote. True to
19   Defendants’ word, and since Plaintiff stood firm, Plaintiff was terminated from her
20   employment after 30 days in violation of California law.       The only reason provided by
21   Defendants for the termination was Plaintiff’s refusal to undergo the vaccine injection,
22   notwithstanding her legitimate request for a religious exemption, her legitimate exemption
23   based upon medical concerns, and her outstanding history with Defendants’ business
24   operations. In fact, Defendants’ excuse for their position was that providing Plaintiff with a
25
     religious accommodation would be a hardship. There is, and was, no factual nor legal basis
26
     for that position.
27
            25.     A reasonable and available accommodation, among others, was to permit
28
     Plaintiff the opportunity to continue her employment on the condition that she provide a
                                                   11
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
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 1   negative Covid test every 72 hours, and don a mask when in the presence of others. Although
 2   Defendants offered this accommodation to Plaintiff, they imposed an unreasonable time limit
 3   on that accommodation which effectively rendered the accommodation unreasonable and in
 4   violation of law.
 5
            26.    A second reasonable accommodation which was available, and should have been
 6
     made available, to Plaintiff was an open position which was, in essence, an exclusively remote
 7
     position requiring the identical skill sets which she had been utilizing for more than a decade
 8
     of employment with Defendants. The only difference was the 100% remote nature of the
 9
     position. (During Plaintiff’s employment, her position involved approximately 60% in-office
10
     work and 40% remote work, a fact about which Defendants were fully aware, so changing her
11
     to an exclusively remote status would have been simple, efficient, and in compliance with
12
     applicable law.) It wasn’t until after Plaintiff was terminated that she learned of this remote
13
     position. In fact, and suspiciously, the job posting was uploaded the day after Plaintiff’s
14
15   termination became effective.

16          27.    Plaintiff requested the opportunity to take that position, especially since it would

17   have satisfied the reasonable accommodation requirement. This available accommodation

18   would not have imposed any added burden or expense on Defendants, it would not have
19   required any additional training of Plaintiff, and it would have immediately resulted in
20   Plaintiff’s continued employment.     Unfortunately, Plaintiff is informed and believes, and
21   thereon alleges, that Defendants used her application for that position as a ruse to covertly
22   acquire information from Plaintiff to justify, after the fact, their prior wrongful decision to
23   terminate Plaintiff’s employment.
24          28.    To that end, Defendants required Plaintiff to undergo an interview process to
25
     apply for the available remote position, notwithstanding that Defendants had full knowledge of
26
     Plaintiff’s overwhelmingly positive and long-standing qualifications, the identical skill set
27
     required for the subsequent position, as well as her considerable experience in operating in a
28

                                                    12
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
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 1   remote fashion. Nevertheless, Plaintiff engaged with Defendants for the interview process as
 2   required.
 3          29.    Plaintiff alleges that Defendants’ intentions with regard to the interview were not
 4   honorable.   Instead of inquiring about Plaintiff’s experience, qualifications, work ethic,
 5
     organizational skills, ability to work with others, her greatest strengths and weaknesses, why
 6
     she wants the position, factors that motivate her in life, how she overcomes adverse
 7
     employment situations, her ability to manage stress or change, conflict resolution skills, how
 8
     her skills align with the position, and other pertinent inquiries which form the basis of a
 9
     legitimate job interview process, the Defendants’ interviewer (Amy Baskin) commented on
10
     Plaintiff’s headdress, asked specific questions about her religious beliefs, and related subjects.
11
     Also, Plaintiff was bombarded with reasons that the job was not suitable for her.             The
12
     interviewer even had the audacity to inquire whether Plaintiff was Muslim. This was not an
13
     interview intended to fill the remote position. Instead, it was a horrific and illegal ploy by
14
15   Defendants to extract information from Plaintiff to be used against her, and it constitutes direct

16   and concrete evidence of Defendants’ bad faith and illegal discrimination. There was no bona

17   fide occupational qualification regarding religion which was applicable to the position for

18   which Plaintiff applied.
19          30.    Plaintiff is informed and believes, and thereon alleges, that the Defendants
20   utilized the subject interview as their perverted version of the “interactive process,” but only
21   for the benefit of the Defendants in seeking to undermine any potential legal claims by
22   Plaintiff. Plaintiff is informed and believes, and thereon alleges, that the best interests of
23   Plaintiff were not foremost in the minds of Defendants with regard to, among other things, her
24   legitimate exemption claims, her wrongful termination, or her subsequent “interview” for an
25
     alternative job opening.
26
            31.    Ultimately, Defendants refused to re-hire Plaintiff, refused to engage in a sincere
27
     and legitimate interactive process, refused to offer Plaintiff the alternative position which
28

                                                     13
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   would have satisfied Defendants’ obligations to provide a reasonable accommodation, and
 2   refused to otherwise comply with their legal responsibilities under both state and federal law.
 3           32.   Plaintiff is informed and believes, and thereon alleges, that Plaintiff’s wrongful
 4   employment termination was legally and factually inconsistent with, among other things, the
 5
     Defendants’ stated employment policies, the California Department of Public Health
 6
     orders/regulations, and applicable sections of the California Government Code and Labor
 7
     Code.
 8
             33.    In light of the discrimination and retaliation committed by Defendants, and each
 9
     of them, Plaintiff has obtained a Right to Sue letter from the California Department of Fair
10
     Employment and Housing; a copy of which is attached hereto as Exhibit “A”.
11
                                  FIRST CAUSE OF ACTION
12                                  Wrongful Termination –
13                   Violation of Cal. Labor Code, Sections 1102.5 and 98.6
     (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)
14
15           34.   Plaintiff re-alleges and incorporates by reference under this cause of action each
16   and every allegation made in each and every paragraph hereinabove, as if fully set forth
17   hereunder.
18           35.   Pursuant to California Labor Code, Section 1102.5, it is unlawful for an
19   employer, or any person acting on behalf of an employer, to make, adopt, or enforce any rule,
20   regulation, or policy preventing an employee from disclosing information to a government or
21   law enforcement agency, to a person with authority over the employee, or to another employee
22
     who has authority to investigate, discover, or correct the violation or noncompliance, or from
23
     providing information to, or testifying before, any public body conducting an investigation,
24
     hearing, or inquiry, if the employee has reasonable cause to believe that the information
25
     discloses a violation of state or federal statute, or a violation of or noncompliance with a local,
26
     state, or federal rule or regulation, regardless of whether disclosing the information is part of
27
     the employee's job duties.
28

                                                     14
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          36.    Pursuant to California Labor Code, Section 98.6, it is unlawful for a person to
 2   discharge an employee or in any manner discriminate, retaliate, or take any adverse action
 3   against any employee or applicant for employment because the employee or applicant for
 4   employment has filed a bona fide complaint or claim or instituted or caused to be instituted
 5
     any proceeding under or relating to his or her rights that are under the jurisdiction of the Labor
 6
     Commissioner, made a written or oral complaint that he or she is owed unpaid wages, or
 7
     because the employee has initiated any action or notice pursuant to Labor Code, Section 2699,
 8
     or has testified or is about to testify in a proceeding pursuant to that section, or because of the
 9
     exercise by the employee or applicant for employment on behalf of himself, herself, or others
10
     of any rights afforded him or her.
11
            37.    Plaintiff informed Defendants that she was requesting, and was entitled to, an
12
     exemption from the Covid vaccine based upon her sincerely held religious beliefs and valid
13
     medical concerns. Instead of taking into account the circumstances behind those exemptions
14
15   request, instead of seeking to find some reasonable accommodation for Plaintiff’s situation,

16   and instead of honoring Plaintiff’s rights under California law, Defendants retaliated against

17   Plaintiff by summarily terminating her employment after refusing to provide her with a

18   reasonable accommodation.       Plaintiff clearly communicated her legal rights to seek an
19   exemption for her religious beliefs and medical concerns. Defendants then sought to extract
20   information from Plaintiff for any future claims by her by engaging in a hoax to make Plaintiff
21   believe that she was a legitimate candidate for a remote position.
22          38.    Defendants terminated Plaintiff’s employment for no valid or legal reason, The
23   Defendants, and each of them, were persons with authority over Plaintiff, and/or other
24   employees, who had the authority to investigate, discover, or correct the violations or
25
     noncompliance with state or federal laws.
26
            39.    Plaintiff's employment termination was a direct and proximate result and
27
     consequence of, among other illegal reasons, Plaintiff seeking a religious exemption, and
28
     asserting her position when the religious exemption was wrongfully denied.
                                                     15
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          40.    The conduct of Defendants, and each of them, was in direct violation of Labor
 2   Code, Sections 1102.5, 98.6, and related statutory dictates.
 3          41.    Plaintiff engaged in protected activities. Defendants subsequently took adverse
 4   and retaliatory employment action against Plaintiff, and there was a causal connection between
 5
     the protected activity and the adverse employment action.
 6
            42.    While employed with Defendants, and each of them, Plaintiff substantially and
 7
     competently performed her job duties.
 8
            43.    As a direct and proximate cause of the Defendants' unlawful, wrongful,
 9
     intentional, wrongful, and retaliatory conduct, Plaintiff suffered and continues to suffer
10
     emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
11
     related general damages, past and future medical and out-of-pocket economic and incidental
12
     expenses, past and future lost earnings and loss of career opportunities, past and future,
13
     statutory attorney's fees and costs, with interest thereon, and consequential damages, in an
14
15   amount according to proof.

16          44.    As a further proximate result of the wrongful acts of Defendants, and each of

17   them, Plaintiff has been harmed in that Plaintiff has suffered a loss of wages, and will suffer

18   future damage for loss of the wages, benefits, and additional amounts of money Plaintiff
19   would have received if Plaintiff had continued to work for Defendants in an amount within the
20   jurisdiction of the Superior Court of the State of California.
21          45.    As a further proximate result of the wrongful acts of Defendants, and each of
22   them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
23   employment-related opportunities, such as further work experience and seniority. As a result
24   of such wrongful conduct and consequent harm, Plaintiff has suffered such damages in an
25
     amount to be shown at time of trial within the jurisdiction of the Superior Court of the State of
26
     California.
27
            46.    As a result of the wrongful acts of Defendants, and each of them, as delineated
28
     above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
                                                     16
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
 2   to attorney's fees pursuant to California Labor Code, 1102.5, and associated court decisions, in
 3   an amount to be shown pursuant to law after entry of judgment in Plaintiff's favor.
 4          47.    Additionally, the wrongful, intentional, deliberate conduct of the Defendants
 5
     identified herein was done maliciously, oppressive, fraudulently, and in conscious and reckless
 6
     disregard of Plaintiff's rights so as to warrant the imposition of punitive damages pursuant to
 7
     Civil Code §3294 in an amount sufficient to punish and set an example of Defendants, and to
 8
     deter them from engaging in similar illegal, wrongful and unlawful conduct to the extent
 9
     permitted by law.
10
            48.    In accordance with Labor Code, Section 98.6(b)(3), Defendants, and each of
11
     them, are required to pay Plaintiff a statutory penalty in the amount of $10,000.00 for each
12
     violation. Plaintiff seeks those statutory penalties as part of her damages.
13
                                  SECOND CAUSE OF ACTION
14
                        Wrongful Termination in Violation of Public Policy
15                  (Against Defendants AMPLITY HEALTH, AMPLITY, INC.,
                                    and DOES 1-30, inclusive)
16
17          49.    Plaintiff re-alleges and incorporates by reference under this cause of action each
18   and every allegation made in each and every paragraph hereinabove, as if fully set forth
19   hereunder.
20          50.    It is the fundamental public policy of the State of California that employers shall
21   not engage in wrongful termination, or any other retaliation, against employees who make a
22
     complaint or claim with regard to his or her rights which are under the jurisdiction of the
23
     Labor Commissioner or which violate the protection of whistleblowers under California law.
24
     Defendants, and each of them, violated the public policy of California, and statutory dictates,
25
     embodied in Labor Code, Sections 1102.5, 98.6, and the California Constitution by taking
26
     adverse employment actions against Plaintiff, up to and including terminating her employment
27
     in retaliation for, among other things, asserting her legitimate rights to pursue a religious
28
     exemption under California law. The termination set forth herein was actual.
                                                     17
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          51.    Plaintiff is further informed and believes, and thereon alleges, that Defendants’
 2   decision to wrongfully terminate Plaintiff’s employment was motivated by, among other
 3   things, Plaintiff’s requests for religious and medical exemptions, Defendants’ discrimination
 4   against Plaintiff based upon religion and disability, and Plaintiff’s insistence that Defendants
 5
     provide a reasonable accommodation which was proper.
 6
            52.     Plaintiff engaged in protected activities. Defendants subsequently took adverse
 7
     and retaliatory employment action against Plaintiff, and there was a causal connection between
 8
     the protected activity and the adverse employment action.
 9
            53.    While employed with Defendants, and each of them, Plaintiff substantially and
10
     competently performed her job duties.
11
            54.    As a direct and proximate cause of the Defendants' unlawful, wrongful,
12
     intentional, wrongful, and retaliatory conduct, Plaintiff suffered and continues to suffer
13
     emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
14
15   related general damages, past and future medical and out-of-pocket economic and incidental

16   expenses, past and future lost earnings and loss of career opportunities, past and future,

17   statutory attorney's fees and costs, with interest thereon, and consequential damages, in an

18   amount according to proof.
19          55.    As a further proximate result of the wrongful acts of Defendants, and each of
20   them, Plaintiff has been harmed in that Plaintiff has suffered a loss of wages, and will suffer
21   future damage for loss of the wages, benefits, and additional amounts of money Plaintiff
22   would have received if Plaintiff had continued to work for Defendants in an amount within the
23   jurisdiction of the Superior Court of the State of California.
24          56.    As a further proximate result of the wrongful acts of Defendants, and each of
25
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
26
     employment-related opportunities as further work experience and seniority. As a result of such
27
     wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
28
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
                                                     18
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1            57.   As a result of the wrongful acts of Defendants, and each of them, as delineated
 2   above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
 3   the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
 4   to attorney's fees pursuant to California Labor Code, Section 1102.5, and associated court
 5
     decisions, in an amount to be shown pursuant to law after entry of judgment in Plaintiff's
 6
     favor.
 7
              58.   In doing the acts set forth above, Defendants knew that the wrongful
 8
     termination, and retaliation, was in direct violation of Plaintiff’s civil rights and California
 9
     public policy. Notwithstanding this knowledge, the wrongful, intentional, deliberate conduct
10
     of the Defendants identified herein was done maliciously, oppressively, fraudulently, and in
11
     conscious and reckless disregard of Plaintiff's rights so as to warrant the imposition of punitive
12
     damages pursuant to Civil Code §3294 in an amount sufficient to punish and set an example of
13
     Defendants, and to deter them from engaging in similar illegal, wrongful, and unlawful
14
15   conduct to the extent permitted by law.

16            59.   In accordance with Labor Code, Section 98.6(b)(3), Defendants, and each of

17   them, are required to pay Plaintiff a statutory penalty in the amount of $10,000.00 for each

18   violation. Plaintiff seeks those statutory penalties as part of her damages.
19                                 THIRD CAUSE OF ACTION
                      (Retaliation for Asserting Legal Rights In Violation Of
20
          Labor Code, §§98.6 and 1102.5 Against AMPLITY HEALTH, AMPLITY, INC.,
21                                   and DOES 1-30, inclusive)
22
              60.   Plaintiff re-alleges and incorporates by reference under this cause of action each
23
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
24
     hereunder.
25
              61.   Pursuant to California Labor Code, Section 1102.5, it is unlawful for an
26
     employer, or any person acting on behalf of an employer, to make, adopt, or enforce any rule,
27
     regulation, or policy preventing an employee from disclosing information to a government or
28
     law enforcement agency, to a person with authority over the employee, or to another employee
                                                     19
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   who has authority to investigate, discover, or correct the violation or noncompliance, or from
 2   providing information to, or testifying before, any public body conducting an investigation,
 3   hearing, or inquiry, if the employee has reasonable cause to believe that the information
 4   discloses a violation of state or federal statute, or a violation of or noncompliance with a local,
 5
     state, or federal rule or regulation, regardless of whether disclosing the information is part of
 6
     the employee's job duties.
 7
            62.    Pursuant to California Labor Code, Section 98.6, it is unlawful for a person to
 8
     discharge an employee or in any manner discriminate, retaliate, or take any adverse action
 9
     against any employee or applicant for employment because the employee or applicant has filed
10
     a bona fide complaint or claim or instituted or caused to be instituted any proceeding under or
11
     relating to his or her rights that are under the jurisdiction of the Labor Commissioner, made a
12
     written or oral complaint that she or she is owed unpaid wages, or because the employee has
13
     initiated any action or notice pursuant to Labor Code, Section 2699, or because the employee
14
15   has testified or is about to testify in a proceeding pursuant to that section, or because of the

16   exercise by the employee or applicant for employment on behalf of himself, herself, or others

17   of any rights afforded him or her.

18          63.    It is the public policy of the State of California that employers shall not engage
19   in retaliation against employees who engage in any conduct or actions which are protected by
20   the foregoing statutes and regulations. Defendants violated the public policy of California
21   embodied in Labor Code, Sections 1102.5, 98.6 and the California Constitution by taking
22   adverse employment actions against Plaintiff, up to and including terminating her employment
23   in retaliation for asserting her rights under various state and federal laws protecting those who
24   assert rights under the California law.
25
            64.    Plaintiff engaged in protected activities. Defendants subsequently took adverse
26
     and retaliatory employment action against Plaintiff, and there was a causal connection between
27
     the protected activity and the adverse employment action.
28

                                                     20
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1            65.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
 2   intentional, and retaliatory conduct, and adverse employment actions, Plaintiff suffered and
 3   continues to suffer emotional distress, worry, humiliation, mental anguish, anxiety, loss of
 4   enjoyment of life and related general damages, past and future medical and out-of-pocket
 5
     economic and incidental expenses, past and future lost earnings and loss of career
 6
     opportunities, past and future statutory attorney's fees and costs, with interest thereon, in an
 7
     amount according to proof.
 8
              66.   As a further proximate result of the wrongful acts of Defendants, and each of
 9
     them, Plaintiff has been harmed in that Plaintiff has suffered a loss of wages, and will suffer
10
     future damage for loss of the wages, benefits, and additional amounts of money Plaintiff
11
     would have received if Plaintiff had continued to work for Defendants in an amount within the
12
     jurisdiction of the Superior Court of the State of California.
13
              67.   As a further proximate result of the wrongful acts of Defendants, and each of
14
15   them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such

16   employment-related opportunities as further work experience and seniority. As a result of such

17   wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to

18   be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
19            68.   As a result of the wrongful acts of Defendants, and each of them, as delineated
20   above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
21   the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
22   to attorney's fees pursuant to California Labor Code, 1102.5 and 98.6, and associated court
23   decisions, in an amount to be shown pursuant to law after entry of judgment in Plaintiff's
24   favor.
25
              69.   In doing the acts set forth above, Defendants knew that the wrongful
26
     termination, and other retaliation, was in direct violation of Plaintiff’s civil rights and
27
     California public policy. Notwithstanding this knowledge, the wrongful, intentional, deliberate
28
     conduct of the Defendants identified herein was done maliciously, oppressively, fraudulently,
                                                     21
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   and in conscious and reckless disregard of Plaintiff's rights so as to warrant the imposition of
 2   punitive damages pursuant to Civil Code §3294 in an amount sufficient to punish and set an
 3   example of Defendants, and to deter them from engaging in similar illegal, wrongful, and
 4   unlawful conduct to the extent permitted by law.
 5
            70.    In accordance with Labor Code, Section 98.6(b)(3), Defendants, and each of
 6
     them, are required to pay Plaintiff a statutory penalty in the amount of $10,000.00 for each
 7
     violation. Plaintiff seeks recovery of those statutory penalties herein.
 8
                                FOURTH CAUSE OF ACTION
 9                Unfair Competition In Violation of Unfair Business Practices-
10                        Business & Professions Code §§17200 et. seq.
     (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)
11
12
            71.    Plaintiff re-alleges and incorporates by reference under this cause of action each

13   and every allegation made in each and every paragraph hereinabove, as if fully set forth

14   hereunder.

15          72.    California Business & Professions Code §§17200-et seq. prohibits acts of unfair
16   competition, which includes any "unlawful and unfair business practices."
17          73.    The conduct by Defendants, and each them, as alleged herein, have been, and
18   continue to be, unfair, unlawful, and deleterious to Plaintiff herein. Plaintiff hereby seeks to
19   enforce important rights within the meaning of Code of Civil Procedure §1021.5. Plaintiff is a
20   "person" within the meaning of the Business & Professions Code §17204, and therefore
21   possesses standing to bring this suit for injunctive relief and restitution.
22
            74.    It is the policy of this State to enforce minimum labor standards, to ensure that
23
     employees are not required or permitted to work under substandard and unlawful conditions,
24
     and to protect those employers who comply with the law from losing competitive advantage to
25
     other employers who fail to comply with labor standards and requirements.
26
            75.    Through the conduct alleged herein, Defendants, and each of them, acted
27
     contrary to these public policies and have engaged in unlawful and/or unfair business practices
28

                                                      22
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   in violation of Business & Professions Code §§17200 et. seq., depriving Plaintiff herein, of the
 2   rights, benefits, and privileges guaranteed to employees under California law.
 3          76.    Defendants, and each of them, wrongfully terminated, and otherwise retaliated
 4   against, Plaintiff for her rightful assertion of rights to a religious exemption. This was in direct
 5
     violation of both state and federal laws, including, but not limited to, Labor Code, Section
 6
     1102.5 and 98.6.
 7
            77.    By engaging in these business practices, which are unfair business practices
 8
     within the meaning of Business & Professions Code §§17200 et. seq., Defendants, and each of
 9
     them, harmed Plaintiff herein, and thus by that design and plan gained an unfair competitive
10
     edge in the marketplace.
11
            78.    Under Business & Professions Code §17203, Plaintiff is entitled to obtain
12
     restitution of funds wrongfully obtained by Defendants, and each of them, and DOES 1-30 on
13
     behalf of herself affected by the unfair business practices of Defendants, and each of them, as
14
15   enumerated herein.

16          79.    Pursuant to Business & Professions Code §17203, injunctive relief is necessary

17   to prevent Defendants, and each of them, from continuing to engage in the unfair business

18   practices as alleged herein. Plaintiff is informed and believes, and based thereon alleges that
19   Defendants, and each of them, and persons acting in concert with them, have committed and
20   will continue to commit the above unlawful acts unless restrained or enjoined by this Court.
21   Unless the relief prayed for below is granted, a multiplicity of actions will result. Plaintiff has
22   no plain, speedy, or adequate remedy at law, in that pecuniary compensation would not afford
23   adequate and complete relief. The above-described acts will cause, and have caused, great and
24   irreparable damage to Plaintiff herein, unless Defendants, and each of them, are restrained
25
     from committing further illegal acts.
26
            80.     Plaintiff's success in this action will result in the enforcement of important
27
     rights. Private enforcement of the rights enumerated in this complaint is necessary, as public
28
     agencies have only sought limited enforcement of those rights, if any. Plaintiff, individually
                                                      23
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   and by and through counsel, has incurred and continue to incur a financial burden in pursuing
 2   this action. Plaintiff further seeks to enjoin the above-referenced unlawful actions under the
 3   Labor Code. Therefore, Plaintiff seeks an award of attorney’s fees and costs of suit on this
 4   cause of action pursuant to Code of Civil Procedure §1021.5, and other applicable Labor Code
 5
     sections.
 6
            81.   As a direct and proximate result of the willful, knowing, and intentional conduct
 7
     of Defendants, and each of them, in violation of Labor Code §§ 1102.5 and 98.6, Plaintiff has
 8
     been damaged in that Plaintiff has been denied employment, and the wages and benefits
 9
     attendant to such employment. Plaintiff has further sustained damages and injuries as a result
10
     of the wrongful conduct of Defendants, and each of them, as stated herein, all to Plaintiff's
11
     damage in amounts according to proof at trial.
12
                                FIFTH CAUSE OF ACTION
13
       Discrimination Based On Religious Creed Or Faith – Wrongful Discrimination Re:
14      Terms, Conditions, and Privileges of Employment - FEHA; Gov. Code §§12940(a)
     (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)
15
16          82.   Plaintiff re-alleges and incorporates by reference under this cause of action each
17   and every allegation made in each and every paragraph hereinabove, as if fully set forth
18   hereunder.
19          83.   Under the Fair Employment and Housing Act (“FEHA”), Government Code
20   section 12940 et. seq., it is an unlawful employment practice for an employer because of,
21   among other reasons, a person's religion or religious beliefs to refuse to hire or employ the
22
     person, to refuse to select the person for a training program leading to employment, to bar or
23
     discharge the person from employment or from a training program leading to employment, or
24
     to discriminate against the person in compensation or in terms, conditions, or privileges of
25
     employment. It is unlawful under FEHA for an employer to fail to make reasonable
26
     accommodation for the employee’s religion or religious beliefs. It is unlawful under FEHA for
27
     an employer to fail to engage in a timely, good faith, interactive process with the employee to
28
     determine effective reasonable accommodations for an employee with regard to those religious
                                                      24
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
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 1   beliefs. It is unlawful under FEHA, because of a person's religion or religious beliefs, to harass
 2   an employee. It is unlawful under FEHA to aid, abet, incite, compel, or coerce the doing of
 3   any acts forbidden under FEHA, and/or attempt to do so.
 4          84.    Defendants, and each of them, wrongfully discriminated against Plaintiff with
 5
     respect to the terms, conditions, and provisions of her employment, as well as with respect to
 6
     the continuing nature of her employment, as a direct result of Plaintiff’s religion and religious
 7
     beliefs.
 8
            85.    As a direct and proximate cause of the Defendants' unlawful, wrongful,
 9
     intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
10
     emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
11
     related general damages, past and future, medical and out-of-pocket economic and incidental
12
     expenses, past and future, lost earnings and loss of career opportunities, past and future,
13
     statutory attorney's fees and costs, with interest thereon, and consequential damages, in an
14
15   amount according to proof.

16          86.    As a further proximate result of the wrongful acts of Defendants, and each of

17   them, Plaintiff has been harmed in that Plaintiff will suffer, and has suffered, past and future

18   damage for loss of the wages, benefits, and additional amounts of money Plaintiff would have
19   received if Plaintiff had continued to work for Defendants in an amount within the jurisdiction
20   of the Superior Court of the State of California.
21          87.    As a further proximate result of the wrongful acts of Defendants, and each of
22   them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
23   employment-related opportunities as further work experience and seniority. As a result of such
24   wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
25
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
26
            88.    As a result of the wrongful acts of Defendants, and each of them, as delineated
27
     above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
28
     the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
                                                     25
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   to attorney's fees pursuant to California Government Code section 12965 in an amount to be
 2   shown pursuant to law after entry of judgment in Plaintiff's favor.
 3          89.     Additionally, the wrongful, intentional, deliberate conduct of the Defendants
 4   identified herein was done in conscious and reckless disregard of Plaintiff's rights so as to
 5
     warrant the imposition of punitive damages pursuant to Civil Code §3294 in an amount
 6
     sufficient to punish and set an example of Defendants, and to deter them from engaging in
 7
     similar illegal, discriminatory and unlawful conduct to the extent permitted by law.
 8
                                    SIXTH CAUSE OF ACTION
 9              Discrimination Based Upon Religious Creed Or Faith In Violation
10              of California Public Policy, and Gov. Code §§12920-12921, et.seq.
                  (Against Defendants AMPLITY HEALTH, AMPLITY, INC.,
11                                    and DOES 1-30, inclusive)
12
            90.  Plaintiff re-alleges and incorporates by reference under this cause of action each

13   and every allegation made in each and every paragraph hereinabove, as if fully set forth

14   hereunder.

15          91.     As codified in California Fair Employment & Housing Act and Government
16   Code §§12920-12921, et seq., it was and remains the public policy of the State of California
17   that employers like Defendants herein shall not treat their employees differently in terms,
18   compensation and conditions of employment based upon an employee's religion or religious
19   beliefs; a policy and conduct which is contrary to established public policy in California.
20          92.     Defendants violated California public policy when they intentionally treated
21   Plaintiff differently due to her religion and religious beliefs, and ultimately terminated
22
     Plaintiff’s employment as a result of her protected activities and membership in protected
23
     groups. Defendants, and each of them, violated California public policy by committing all of
24
     the discriminatory and harassing conduct, and other wrongful and unlawful behaviors, as
25
     detailed in this Complaint, including, but not limited to, discrimination, retaliation, and
26
     termination.
27
            93.     As a direct and proximate cause of the Defendants' unlawful, wrongful,
28
     intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
                                                    26
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
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 1   emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
 2   related general damages, past and future, medical and out-of-pocket economic and incidental
 3   expenses, past and future, lost earnings and loss of career opportunities, past and future,
 4   statutory attorney's fees and costs, with interest thereon, and consequential damages, in an
 5
     amount according to proof.
 6
            94.    As a further proximate result of the wrongful acts of Defendants, and each of
 7
     them, Plaintiff has been harmed in that Plaintiff will suffer, and has suffered, past and future
 8
     damage for loss of the wages, benefits, and additional amounts of money Plaintiff would have
 9
     received if Plaintiff had continued to work for Defendants in an amount within the jurisdiction
10
     of the Superior Court of the State of California.
11
            95.    As a further proximate result of the wrongful acts of Defendants, and each of
12
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
13
     employment-related opportunities as further work experience and seniority. As a result of such
14
15   wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to

16   be shown at time of trial within the jurisdiction of the Superior Court of the State of California.

17          96.    As a result of the wrongful acts of Defendants, and each of them, as delineated

18   above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
19   the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
20   to attorney's fees pursuant to California Government Code section 12965 in an amount to be
21   shown pursuant to law after entry of judgment in Plaintiff's favor.
22          97.    Additionally, the wrongful, intentional, deliberate conduct of the Defendants
23   identified herein was done in conscious and reckless disregard of Plaintiff's rights so as to
24   warrant the imposition of punitive damages pursuant to Civil Code §3294 in an amount
25
     sufficient to punish and set an example of Defendants, and to deter them from engaging in
26
     similar illegal, discriminatory and unlawful conduct to the extent permitted by law.
27
28

                                                     27
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1                              SEVENTH CAUSE OF ACTION
      Wrongful Termination in Violation of Public Policy, FEHA, Gov’t Code, Section 12940
 2
             et. seq. (Against Defendants AMPLITY HEALTH, AMPLITY, INC.,
 3                                 and DOES 1-30, inclusive)
 4
            98.    Plaintiff re-alleges and incorporates by reference under this cause of action each
 5
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
 6
     hereunder.
 7
            99.    Under the Fair Employment and Housing Act (“FEHA”), Government Code
 8
     section 12940 et. seq., it is an unlawful employment practice for an employer because of a
 9
     person's religion or religious beliefs to refuse to hire or employ the person, to refuse to select
10
     the person for a training program leading to employment, to bar or discharge the person from
11
12
     employment or from a training program leading to employment, or to discriminate against the

13   person in compensation or in terms, conditions, or privileges of employment. It is unlawful

14   under FEHA for an employer to fail to make reasonable accommodation for the known

15   religion or religious beliefs of an employee. It is unlawful under FEHA for an employer to fail
16   to engage in a timely, good faith, interactive process with the employee to determine effective
17   reasonable accommodations for an employee with regard to his or her religion or religious
18   beliefs. It is unlawful under FEHA, because of a person's religion or religious beliefs, to harass
19   an employee. It is unlawful under FEHA to aid, abet, incite, compel, or coerce the doing of
20   any acts forbidden under FEHA, and/or attempt to do so.
21          100.   It is the public policy of the State of California that employers shall not engage
22
     in retaliation against employees who make or file any bona fide complaint or claim with regard
23
     to his or her rights which are under the jurisdiction of the Labor Commissioner or the DFEH.
24
     Defendants violated the public policy of California, and statutory dictate, embodied in
25
     Government Code section 12940 and the California Constitution by taking adverse
26
     employment actions against Plaintiff, up to and including terminating her employment in
27
     retaliation for asserting her rights to be free from discrimination based upon her religion or
28
     religious beliefs. The termination set forth herein was actual.
                                                     28
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
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 1              101.   Plaintiff is further informed and believes, and thereon alleges, that Defendants’
 2   decision to wrongfully terminate Plaintiff’s employment was motivated by Plaintiff’s
 3   legitimate request for a religious exemption regarding the COVID-19 Covid vaccine. No
 4   portion of the applicable statutory provisions alleged to be violated in this case exempts the
 5
     Defendants from the statutory provision. Terminating an employee due to an employee's
 6
     religion or religious beliefs is a fundamental public policy violation. (Gould v. Maryland
 7
     Sound Industries, Inc., (1995) 31 Ca1.App.4th 1137, 1147-48, 1150; [violation of public
 8
     policy based on various Labor Code provisions]. See also Government Code, Section 12940
 9
     (l)(1).)
10
                102.   While employed with Defendants, and each of them, Plaintiff substantially,
11
     competently, and diligently performed her job duties.
12
                103.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
13
     intentional, discriminatory and retaliatory conduct, and adverse employment actions, Plaintiff
14
15   suffered and continues to suffer emotional distress, worry, humiliation, mental anguish,

16   anxiety, loss of enjoyment of life and related general damages, past and future, medical and

17   out-of-pocket economic and incidental expenses, past and future, lost earnings and loss of

18   career opportunities, past and future, statutory attorney's fees and costs, with interest thereon,
19   in an amount according to proof.
20              104.   As a further proximate result of the wrongful acts of Defendants, and each of
21   them, Plaintiff has been harmed in that Plaintiff will suffer, and has suffered, past and future
22   damage for loss of the wages, benefits, and additional amounts of money Plaintiff would have
23   received if Plaintiff had continued to work for Defendants in an amount within the jurisdiction
24   of the Superior Court of the State of California.
25
                105.   As a further proximate result of the wrongful acts of Defendants, and each of
26
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
27
     employment-related opportunities as further work experience and seniority. As a result of such
28

                                                       29
                                  COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                         AND STATUTORY PENALTIES
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 1   wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
 2   be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
 3          106.   As a result of the wrongful acts of Defendants, and each of them, as delineated
 4   above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
 5
     the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
 6
     to attorney's fees pursuant to California Government Code section 12965 in an amount to be
 7
     shown pursuant to law after entry of judgment in Plaintiff's favor.
 8
            107.   In doing the acts set forth above, Defendants knew that the religious
 9
     discrimination was in direct violation of Plaintiff’s civil rights and California public policy.
10
     Notwithstanding this knowledge, the wrongful, intentional, deliberate conduct of the
11
     Defendants identified herein was done in conscious and reckless disregard of Plaintiff's rights
12
     so as to warrant the imposition of punitive damages pursuant to Civil Code §3294 in an
13
     amount sufficient to punish and set an example of Defendants, and to deter them from
14
15   engaging in similar illegal, discriminatory and unlawful conduct to the extent permitted by

16   law.

17                                EIGHTH CAUSE OF ACTION
      Retaliation for Asserting Rights With Regard To Religious Creed and Religious Beliefs
18                       in Violation of FEHA, Gov. Code §§12940, et.seq.
19   (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)

20
            108.   Plaintiff re-alleges and incorporates by reference under this cause of action each
21
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
22
     hereunder.
23
24
            109.   Under the Fair Employment and Housing Act (“FEHA”), Government Code

25   section 12940 et. seq., it is an unlawful employment practice for an employer because of a

26   person's religious creed to refuse to hire or employ the person, to refuse to select the person for

27   a training program leading to employment, to bar or discharge the person from employment or
28   from a training program leading to employment, or to discriminate against the person in

                                                     30
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   compensation or in terms, conditions, or privileges of employment. It is unlawful under FEHA
 2   for an employer to fail to make reasonable accommodation for the employee’s religion or
 3   religious beliefs. It is unlawful under FEHA for an employer to fail to engage in a timely, good
 4   faith, interactive process with the employee to determine effective reasonable accommodations
 5
     for an employee’s religion or religious beliefs. It is unlawful under FEHA, because of a
 6
     person's religion or religious beliefs to harass an employee. It is unlawful under FEHA to aid,
 7
     abet, incite, compel, or coerce the doing of any acts forbidden under FEHA, and/or attempt to
 8
     do so.
 9
              110.   It is the public policy of the State of California that employers shall not engage
10
     in retaliation against employees who make or file any bona fide complaint or claim with regard
11
     to his or her rights which are under the jurisdiction of the Labor Commissioner or the DFEH.
12
     Defendants violated the public policy of California embodied in Government Code section
13
     12940 and the California Constitution by taking adverse and retaliatory employment actions
14
15   against Plaintiff, up to and including terminating her employment in retaliation for asserting

16   her rights under various state and federal laws protecting an employee’s religion or religious

17   beliefs.

18            111.   Plaintiff engaged in protected activities. Plaintiff's employers subsequently took
19   adverse employment action against her and there was a causal connection between the
20   protected activity and the adverse employment action.
21            112.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
22   intentional, discriminatory and retaliatory conduct, and adverse employment actions, Plaintiff
23   suffered and continues to suffer emotional distress, worry, humiliation, mental anguish,
24   anxiety, loss of enjoyment of life and related general damages, past and future, medical and
25
     out-of-pocket economic and incidental expenses, past and future, lost earnings and loss of
26
     career opportunities, past and future, statutory attorney's fees and costs, with interest thereon,
27
     in an amount according to proof.
28

                                                      31
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1           113.   As a further proximate result of the wrongful acts of Defendants, and each of
 2   them, Plaintiff has been harmed in that Plaintiff will suffer, and has suffered, past and future
 3   damage for loss of the wages, benefits, and additional amounts of money Plaintiff would have
 4   received if Plaintiff had continued to work for Defendants in an amount within the jurisdiction
 5
     of the Superior Court of the State of California.
 6
             114.   As a further proximate result of the wrongful acts of Defendants, and each of
 7
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
 8
     employment-related opportunities as further work experience and seniority. As a result of such
 9
     wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
10
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
11
             115.   As a result of the wrongful acts of Defendants, and each of them, as delineated
12
     above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
13
     the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
14
15   to attorney's fees pursuant to California Government Code section 12965 in an amount to be

16   shown pursuant to law after entry of judgment in Plaintiff's favor.

17           116.   In doing the acts set forth above, Defendants knew that the religious

18   discrimination was in direct violation of Plaintiff’s civil rights and California public policy.
19   Notwithstanding this knowledge, the wrongful, intentional, deliberate conduct of the
20   Defendants identified herein was done in conscious and reckless disregard of Plaintiff's rights
21   so as to warrant the imposition of punitive damages pursuant to Civil Code §3294 in an
22   amount sufficient to punish and set an example of Defendants, and to deter them from
23   engaging in similar illegal, discriminatory and unlawful conduct to the extent permitted by
24   law.
25
     /   /   /
26
     /   /   /
27
     /   /   /
28

                                                     32
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1                               NINTH CAUSE OF ACTION
           Failure To Provide Reasonable and Proper Accommodation In Violation Of
 2
                       FEHA, and Cal. Gov’t. Code, Section 12940, et.seq.
 3        (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30)
 4
 5
            117.   Plaintiff re-alleges and incorporates by reference under this cause of action each

 6   and every allegation made in each and every paragraph hereinabove, as if fully set forth

 7   hereunder.

 8          118.   Under the Fair Employment and Housing Act (“FEHA”), Government Code
 9   section 12940 et. seq., it is an unlawful employment practice for an employer because of a
10   person's religion or religious beliefs, to refuse to hire or employ the person, to refuse to select
11   the person for a training program leading to employment, to bar or discharge the person from
12   employment or from a training program leading to employment, or to discriminate against the
13   person in compensation or in terms, conditions, or privileges of employment. It is unlawful
14   under FEHA for an employer to fail to make reasonable accommodation for an employee’s
15
     religion or religious beliefs. It is unlawful under FEHA for an employer to fail to engage in a
16
     timely, good faith, interactive process with the employee to determine effective reasonable
17
     accommodations for an employee’s religion or religious beliefs. It is unlawful under FEHA,
18
     because of a person's religion or religious beliefs, to harass an employee. It is unlawful under
19
     FEHA to aid, abet, incite, compel, or coerce the doing of any acts forbidden under FEHA,
20
     and/or attempt to do so.
21
            119.   Plaintiff’s sincerely held religious beliefs prohibited her from taking vaccines
22
     which were developed, tested, and/or manufactured with the use of aborted fetal cells, such as
23
24
     the COVID-19 vaccines. Defendants, and each of them, failed or refused to engage in any

25   statutorily required interactive process, and/or to provide reasonable accommodation of

26   Plaintiff’s religious restrictions, in violation of Cal. Gov't Code 12940 et seq. As a result,

27   Plaintiff required reasonable accommodations, including, but not limited to, a determination
28   that Plaintiff did not require any vaccines due to the substantial remote nature of her work, the

                                                     33
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   transfer of Plaintiff to the available, and exclusively remote, position, and/or weekly testing as
 2   offered by Defendants’ own policies, and those of state and local mandates.
 3          120.    Rather than determine whether reasonable accommodations were appropriate,
 4   Defendants refused to provide Plaintiff with any options other than requiring regular negative
 5
     Covid testing, masking, and termination thirty (30) days thereafter if Plaintiff’s refusal of the
 6
     vaccine continued. Defendants ultimately terminated Plaintiff's employment for no legitimate
 7
     reason, and solely due to her refusal to succumb to the Covid vaccine based upon her religious
 8
     beliefs and faith.
 9
            121.    As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered
10
     actual, consequential and incidental financial losses, including without limitation, loss of
11
     wages and benefits, and the intangible loss of employment related opportunities in her field
12
     and damage to her professional reputation, all in an amount subject to proof at the time of trial.
13
     Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or
14
15   any other provision of law providing for prejudgment interest.

16          122.    As a proximate result of the wrongful acts of Defendants, and each of them,

17   Plaintiff has suffered and continues to suffer emotional distress, humiliation, mental anguish

18   and embarrassment, as well as the manifestation of physical symptoms. Plaintiff is informed
19   and believes and thereupon alleges that she will continue to experience said physical and
20   emotional suffering for a period in the future not presently ascertainable, all in an amount
21   subject to proof at the time of trial.
22          123.    As a proximate result of the wrongful acts of the aforementioned Defendants,
23   Plaintiff has been forced to hire attorneys to prosecute her claims herein, and has incurred and
24   is expected to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is
25
     entitled to recover attorneys' fees and costs under California Government Code § 12965(b).
26
            124.    The acts taken toward Plaintiff were carried out by Defendants' officers,
27
     directors, and/or managing agents acting in a despicable, oppressive, fraudulent, malicious,
28
     deliberate, egregious, and inexcusable manner and in conscious disregard for the rights and
                                                     34
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   safety of Plaintiff. Defendants and their agents/employees or supervisors, authorized,
 2   condoned and ratified the unlawful conduct of each other. Consequently, Plaintiff is entitled to
 3   an award of punitive damages against Defendants.
 4                              TENTH CAUSE OF ACTION
 5             Failure To Engage In An Interactive Process In Violation Of FEHA,
                             Cal. Gov. Code, Section 12940, et.seq.
 6   (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)
 7
 8          125.   Plaintiff re-alleges and incorporates by reference under this cause of action each
 9   and every allegation made in each and every paragraph hereinabove, as if fully set forth
10   hereunder.
11          126.   Under the Fair Employment and Housing Act (“FEHA”), Government Code
12   section 12940 et. seq., it is an unlawful employment practice for an employer because of a
13   person's religion or religious beliefs, to refuse to hire or employ the person, to refuse to select
14   the person for a training program leading to employment, to bar or discharge the person from
15
     employment or from a training program leading to employment, or to discriminate against the
16
     person in compensation or in terms, conditions, or privileges of employment. It is unlawful
17
     under FEHA for an employer to fail to make reasonable accommodation for an employee’s
18
     religion or religious beliefs. It is unlawful under FEHA for an employer to fail to engage in a
19
     timely, good faith, interactive process with the employee to determine effective reasonable
20
     accommodations for an employee’s religion or religious beliefs. It is unlawful under FEHA,
21
     because of a person's religion or religious beliefs, to harass an employee. It is unlawful under
22
     FEHA to aid, abet, incite, compel, or coerce the doing of any acts forbidden under FEHA,
23
24
     and/or attempt to do so.

25          127.   Plaintiff’s sincerely held religious beliefs prohibited her from taking vaccines

26   which were developed, tested, and/or manufactured with the use of aborted fetal cells, such as

27   the COVID-19 vaccines. Defendants, and each of them, failed or refused to engage in any
28   statutorily required interactive process, and/or to provide reasonable accommodation of

                                                     35
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   Plaintiff’s religious restrictions, in violation of Cal. Gov't Code 12940 et seq. As a result,
 2   Plaintiff required reasonable accommodations, including, but not limited to, a determination
 3   that Plaintiff did not require any vaccines due to the substantial remote nature of her work, the
 4   transfer of Plaintiff to the available, and exclusively remote, position, and/or weekly testing as
 5
     offered by Defendants’ own policies, and those of state and local mandates.
 6
            128.    Rather than determine whether reasonable accommodations were appropriate by
 7
     engaging in the statutorily required interactive process, Defendants refused to provide Plaintiff
 8
     with any options other than requiring regular negative Covid testing, masking, and termination
 9
     thirty (30) days thereafter if Plaintiff continued her refusal to take the COVID vaccine.
10
     Defendants ultimately terminated Plaintiff's employment for no legitimate reason, and solely
11
     due to her refusal to succumb to the Covid vaccine, based upon her religious beliefs and faith.
12
            129.    As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered
13
     actual, consequential and incidental financial losses, including without limitation, loss of
14
15   salary and benefits, and the intangible loss of employment related opportunities in her field

16   and damage to her professional reputation, all in an amount subject to proof at the time of trial.

17   Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or

18   any other provision of law providing for prejudgment interest.
19          130.    As a proximate result of the wrongful acts of Defendants, and each of them,
20   Plaintiff has suffered and continues to suffer emotional distress, humiliation, mental anguish
21   and embarrassment, as well as the manifestation of physical symptoms. Plaintiff is informed
22   and believes and thereupon alleges that she will continue to experience said physical and
23   emotional suffering for a period in the future not presently ascertainable, all in an amount
24   subject to proof at the time of trial.
25
            131.    As a proximate result of the wrongful acts of the aforementioned Defendants,
26
     Plaintiff has been forced to hire attorneys to prosecute her claims herein, and has incurred and
27
     is expected to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is
28
     entitled to recover attorneys' fees and costs under California Government Code § 12965(b).
                                                     36
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1          132.   The acts taken toward Plaintiff were carried out by Defendants' officers,
 2   directors, and/or managing agents acting in a despicable, oppressive, fraudulent, malicious,
 3   deliberate, egregious, and inexcusable manner and in conscious disregard for the rights and
 4   safety of Plaintiff. Defendants and their agents/employees or supervisors, authorized,
 5
     condoned and ratified the unlawful conduct of each other. Consequently, Plaintiff is entitled to
 6
     an award of punitive damages against Defendants.
 7
                                ELEVENTH CAUSE OF ACTION
 8         (Religious Discrimination In Violation of California Constitution, Art. 1, Sec. 8
            Against AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)
 9
10
            133.   Plaintiff re-alleges and incorporates by reference under this cause of action each
11
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
12
     hereunder.
13
            134.   Article 1, § 8 of the California Constitution provides that a person may not be
14
     disqualified from entering or pursuing a business, profession, vocation or employment because
15
     of sex, race, creed (religious belief or confession of faith), color, or national or ethnic origin.
16
17          135.   As a result of the religious discrimination, retaliation, wrongful termination and

18   emotional distress perpetrated by Defendants, Plaintiffs' right to pursue employment free from

19   discrimination as guaranteed by the California Constitution has been abridged and violated.

20          136.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
21   intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
22   emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
23   related general damages, past and future, medical and out-of-pocket economic and incidental
24   expenses, past and future, lost earnings and loss of career opportunities, past and future,
25   statutory attorney's fees and costs, with interest thereon, in an amount according to proof.
26          137.   As a further proximate result of the wrongful acts of Defendants, and each of
27
     them, Plaintiff has been harmed in that Plaintiff will suffer future damage for loss of the
28
     wages, benefits, and additional amounts of money Plaintiff would have received if Plaintiff
                                                       37
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   had continued to work for Defendants in an amount within the jurisdiction of the Superior
 2   Court of the State of California.
 3          138.   As a further proximate result of the wrongful acts of Defendants, and each of
 4   them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
 5
     employment-related opportunities as further work experience and seniority. As a result of such
 6
     wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
 7
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
 8
            139.   As a result of the wrongful acts of Defendants, and each of them, as delineated
 9
     above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
10
     the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
11
     to attorney's fees pursuant to California Government Code section 12965 in an amount to be
12
     shown pursuant to law after entry of judgment in Plaintiff's favor.
13
            140.   Additionally, the wrongful, intentional, deliberate conduct of the Defendants
14
15   identified herein was done in conscious and reckless disregard of Plaintiff's rights so as to

16   warrant the imposition of punitive damages pursuant to Civil Code §3294 in an amount

17   sufficient to punish and set an example of Defendants, and to deter them from engaging in

18   similar illegal, discriminatory and unlawful conduct to the extent permitted by law.
19                           TWELFTH CAUSE OF ACTION
                           Violation of Labor Code, Section 432.6 -
20
     (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1-30, inclusive)
21
            141.   Plaintiff re-alleges and incorporates by reference under this cause of action each
22
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
23
24
     hereunder.

25          142.   As stated hereinabove, Defendants, and each of them, advised Plaintiff, under

26   the threat of termination for seeking to protect her sincerely held religious beliefs, that she had

27   waived any right to seek a religious exemption, and assert her rights to be free of
28

                                                     38
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   discrimination violations under Government Code, Sections 12940, et.seq. This is in violation
 2   of Labor Code, Section 432.6, which states in pertinent part;
 3                 “432.6. (a) A person shall not, as a condition of employment,
 4                 continued employment, or the receipt of any employment-related
                   benefit, require any applicant for employment or any employee to
 5                 waive any right, forum, or procedure for a violation of any provision
 6                 of the California Fair Employment and Housing Act (Part 2.8
                   (commencing with Section 12900) of Division 3 of Title 2 of the
 7                 Government Code) or this code, including the right to file and pursue
 8                 a civil action or a complaint with, or otherwise notify, any state
                   agency, other public prosecutor, law enforcement agency, or any
 9                 court or other governmental entity of any alleged violation.
10
                   “(b) An employer shall not threaten, retaliate or discriminate against,
11                 or terminate any applicant for employment or any employee because
                   of the refusal to consent to the waiver of any right, forum, or
12
                   procedure for a violation of the California Fair Employment and
13                 Housing Act or this code, including the right to file and pursue a civil
                   action or a complaint with, or otherwise notify, any state agency,
14
                   other public prosecutor, law enforcement agency, or any court or
15                 other governmental entity of any alleged violation.”
16
            143.   Notwithstanding Defendants’ repeated attempts to persuade and coerce Plaintiff
17
     to resign from her employment, Plaintiff refused to resign. Plaintiff is informed and believes,
18
     and thereon alleges, that Defendants retaliated against Plaintiff for her refusal to resign from
19
     her employment in violation of the foregoing code section.
20
            144.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
21
     intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
22
     emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
23
     related general damages, past and future, medical and out-of-pocket economic and incidental
24
25   expenses, past and future, lost earnings and loss of career opportunities, past and future,

26   statutory attorney's fees and costs, with interest thereon, in an amount according to proof.

27          145.   As a further proximate result of the wrongful acts of Defendants, and each of

28   them, Plaintiff has been harmed in that Plaintiff will suffer future damage for loss of the

                                                     39
                              COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                     AND STATUTORY PENALTIES
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 1   wages, benefits, and additional amounts of money Plaintiff would have received if Plaintiff
 2   had continued to work for Defendants in an amount within the jurisdiction of the Superior
 3   Court of the State of California.
 4            146.   As a further proximate result of the wrongful acts of Defendants, and each of
 5
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
 6
     employment-related opportunities as further work experience and seniority. As a result of such
 7
     wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
 8
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
 9
              147.   As a result of the wrongful acts of Defendants, and each of them, as delineated
10
     above, Plaintiff has been forced to employ an attorney to vindicate her rights. As such,
11
     Plaintiff is entitled to attorney's fees pursuant to Labor Code, Section 432.6(d), and other
12
     authorities, in an amount to be shown pursuant to law after entry of judgment in Plaintiff's
13
     favor.
14
15            148.   Additionally, the wrongful, intentional, deliberate conduct of the Defendants

16   identified herein was done in conscious and reckless disregard of Plaintiff's rights so as to

17   warrant the imposition of punitive damages pursuant to Civil Code §3294 in an amount

18   sufficient to punish and set an example of Defendants, and to deter them from engaging in
19   similar illegal, discriminatory and unlawful conduct to the extent permitted by law.
20                          THIRTEENTH CAUSE OF ACTION
                      Failure to Prevent Discrimination and Retaliation -
21
                              Government Code, Section 12940(k)
22    (Against Defendants AMPLITY HEALTH, AMPLITY, INC., and DOES 1 through 30,
                                          inclusive)
23
24
              149.   Plaintiff re-alleges and incorporates by reference under this cause of action each
25
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
26
     hereunder.
27
              150.   Defendants, and each of them, had a duty to protect Plaintiff from discrimination
28
     and retaliation based upon religion and religious beliefs under Government Code §12940 (k) of
                                                      40
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   the California Fair Employment and Housing Act. Defendants failed to fulfill this duty by
 2   allowing its management and owners to engage in a pattern and practice of participating in,
 3   engaging in, and failing to prevent, acts of discrimination and retaliation against Plaintiff.
 4          151.     Defendants’ failure to take all reasonable steps to prevent discrimination and
 5
     retaliation against Plaintiff was a substantial factor in causing Plaintiff’s harm and damages.
 6
            152.    As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered
 7
     actual, consequential and incidental financial losses, including without limitation, loss of
 8
     salary and benefits, and the intangible loss of employment related opportunities in her field
 9
     and damage to her professional reputation, all in an amount subject to proof at the time of trial.
10
     Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or
11
     any other provision of law providing for prejudgment interest.
12
            153.    As a direct and proximate cause of the Defendants' unlawful, wrongful,
13
     intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
14
15   emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and

16   related general damages, past and future, medical and out-of-pocket economic and incidental

17   expenses, past and future, lost earnings and loss of career opportunities, past and future,

18   statutory attorney's fees and costs, with interest thereon, in an amount according to proof. Said
19   emotional distress includes manifestations of physical symptoms. Plaintiff is informed and
20   believes and thereupon alleges that she will continue to experience said physical and emotional
21   suffering for a period in the future not presently ascertainable, all in an amount subject to proof
22   at the time of trial.
23          154.    As a further proximate result of the wrongful acts of Defendants, and each of
24   them, Plaintiff has been harmed in that Plaintiff will suffer future damage for loss of the
25
     wages, benefits, and additional amounts of money Plaintiff would have received if Plaintiff
26
     had continued to work for Defendants in an amount within the jurisdiction of the Superior
27
     Court of the State of California.
28

                                                      41
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          155.   As a further proximate result of the wrongful acts of Defendants, and each of
 2   them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
 3   employment-related opportunities as further work experience and seniority. As a result of such
 4   wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
 5
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
 6
            156.   As a proximate result of the wrongful acts of the aforementioned Defendants,
 7
     Plaintiff has been forced to hire attorneys to prosecute her claims herein, and has incurred and
 8
     is expected to continue to incur attorneys' fees and costs in connection therewith. Plaintiff is
 9
     entitled to recover attorneys' fees and costs under California Government Code § 12965(b).
10
            157.   The acts taken toward Plaintiff were carried out by Defendants' officers,
11
     directors, and/or managing agents acting in a despicable, oppressive, fraudulent, malicious,
12
     deliberate, egregious, and inexcusable manner and in conscious disregard for the rights and
13
     safety of Plaintiff. Defendants and their agents/employees or supervisors, authorized,
14
15   condoned and ratified the unlawful conduct of each other. Consequently, Plaintiff is entitled to

16   an award of punitive damages against Defendants.

17                             FOURTEENTH CAUSE OF ACTION
                         Negligent Supervision And Training of Employees
18                  (Against Defendants AMPLITY HEALTH, AMPLITY, INC.,
19                               and DOES 1 through 30, inclusive)

20          158.   Plaintiff re-alleges and incorporates by reference under this cause of action each
21   and every allegation made in each and every paragraph hereinabove, as if fully set forth
22
     hereunder.
23
            159.   Defendants, and each of them, had a duty at all times to supervise the conduct of
24
     their employees, including, but not limited to, any employees charged with the responsibility
25
     to make employment decisions which affect the employment conditions and/or future
26
     employment status of the company’s employees. Defendants also had a duty to supervise the
27
     conduct of its employees and agents, and to properly train same, with regard to the proper
28
     enforcement, administration, and application of Defendants’ policies pertaining to, among
                                                     42
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   other things, vaccination requirements, the provision of any exemptions to any vaccine
 2   obligations, and the applicable laws regarding discriminatory business practices, so as to
 3   prevent, and not to cause, the type of injuries and damages that Plaintiff sustained due to the
 4   negligent care, training, and supervision of Defendants’ employees.
 5
            160.     Plaintiff is informed and believes, and thereon alleges, that Defendants’
 6
     managerial and supervisory employees were improperly supervised and trained, or otherwise
 7
     ignorant of the laws pertaining to the proper and legal procedures involved with the
 8
     application of vaccine requirements, and the provision of legal exemptions to those
 9
     requirements.
10
            161.     Defendants knew or should have known that said managerial and supervisory
11
     employees were improperly supervised and trained, or otherwise ignorant of the laws
12
     pertaining to the proper and legal procedures involved with imposing vaccine requirements,
13
     and the provision of legal exemptions. Defendants knew or should have known that such lack
14
15   of supervision, training, and/or ignorance of the applicable laws created a particular risk to

16   others, including Plaintiff herein.

17          162.     Defendants, and each of them, as herein alleged, were negligent and careless in

18   that they failed to exercise ordinary care in supervising their employees and agents so as to
19   prevent, and not to cause, the type of injuries and damages that Plaintiff sustained due to the
20   negligent care, training, and supervision of Defendants’ employees.
21          163.     Defendants, and each of them, so carelessly and negligently supervised,
22   controlled, and trained its employees and agents in such a way as to create a foreseeable risk
23   for injury and damages to former employees, including Plaintiff herein.
24          164.     Prior to the occurrence of the wrongful acts by the employees of Defendants, and
25
     each of them, Defendants had actual and constructive notice that improper and wrongful
26
     application of the vaccine requirements, and the denial of legal exemptions, were likely to
27
     occur in the absence of adequate supervision, training, and control of said employees and
28
     agents charged with the responsibility to provide such information, and the taking of punitive
                                                     43
                                COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                       AND STATUTORY PENALTIES
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 1   actions for refusal to receive the vaccinations. Defendants, and each of them, were negligent
 2   and careless in that having such knowledge of the foreseeable risk of harm to Plaintiff and
 3   others, they nevertheless failed to use ordinary care in the supervision of their employees and
 4   agents and failed to provide adequate supervision and training with respect to the policies and
 5
     procedures of Defendants and the applicable governmental mandates.
 6
            165.    Further, Defendants, and each of them, knew, or in the exercise of reasonable
 7
     diligence, should have known, that its employees and agents may have sought to punish
 8
     employees who requested exemptions based upon their religion or religious beliefs. Plaintiff is
 9
     informed and believes, and thereon alleges, that Defendants, and each of them, harbored
10
     discriminatory intentions toward Plaintiff, thereby failing or refusing to take proper and
11
     reasonable steps to prevent the damages and injuries ultimately sustained by Plaintiff.
12
            166.    As a proximate result of the aforesaid acts of Defendants, Plaintiff has suffered
13
     actual, consequential and incidental financial losses, including without limitation, loss of
14
15   salary and benefits, and the intangible loss of employment related opportunities in her field

16   and damage to her professional reputation, all in an amount subject to proof at the time of trial.

17   Plaintiff claims such amounts as damages pursuant to Civil Code § 3287 and/or § 3288 and/or

18   any other provision of law providing for prejudgment interest.
19          167.    As a direct and proximate cause of the Defendants' unlawful, wrongful,
20   intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
21   emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
22   related general damages, past and future, medical and out-of-pocket economic and incidental
23   expenses, past and future, lost earnings and loss of career opportunities, past and future,
24   statutory attorney's fees and costs, with interest thereon, in an amount according to proof. Said
25
     emotional distress includes manifestations of physical symptoms. Plaintiff is informed and
26
     believes and thereupon alleges that she will continue to experience said physical and emotional
27
     suffering for a period in the future not presently ascertainable, all in an amount subject to proof
28
     at the time of trial.
                                                     44
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          168.    As a further proximate result of the wrongful acts of Defendants, and each of
 2   them, Plaintiff has been harmed in that Plaintiff will suffer future damage for loss of the
 3   wages, benefits, and additional amounts of money Plaintiff would have received if Plaintiff
 4   had continued to work for Defendants in an amount within the jurisdiction of the Superior
 5
     Court of the State of California.
 6
            169.    As a further proximate result of the wrongful acts of Defendants, and each of
 7
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
 8
     employment-related opportunities as further work experience and seniority. As a result of such
 9
     wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
10
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
11
                                  FIFTEENTH CAUSE OF ACTION
12                    Prohibited and Discriminatory Non Job-Related Inquiry As
13                 Part Of Employment Interview - Discriminatory Hiring Practices
                                  Government Code, Section 12940(d)
14                   (Against Defendants AMPLITY HEALTH, AMPLITY, INC.,
15                                and DOES 1 through 30, inclusive)
16
            170.    Plaintiff re-alleges and incorporates by reference under this cause of action each
17
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
18
     hereunder.
19
20          California Government Code, Section 12940(d) states, in pertinent part:

21                  “It is an unlawful employment practice . . .For any employer or
             employment agency to print or circulate or cause to be printed or circulated
22           any publication, or to make any non job-related inquiry of an employee or
23           applicant, either verbal or through use of an application form, that expresses,
             directly or indirectly, any limitation, specification, or discrimination as to
24           race, religious creed, color, national origin, ancestry, physical disability,
25           mental disability, medical condition, genetic information, marital status, sex,
             gender, gender identity, gender expression, age, sexual orientation,
26           reproductive health decisionmaking, or veteran or military status, or any intent
27
             to make any such limitation, specification, or discrimination.”

28

                                                     45
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          171.   Defendants, and each of them, wrongfully discriminated against Plaintiff with
 2   respect to non job-related inquiries during the Plaintiff’s employment interview with regard to
 3   the available remote job position. In particular, the Defendants’ inquiries regarding, among
 4   other things, Plaintiff’s specific religious beliefs, her religion, and her headdress constituted
 5
     direct violations of the above-stated statutory provision.
 6
            172.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
 7
     intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
 8
     emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
 9
     related general damages, past and future, medical and out-of-pocket economic and incidental
10
     expenses, past and future, lost earnings and loss of career opportunities, past and future,
11
     statutory attorney's fees and costs, with interest thereon, and consequential damages, in an
12
     amount according to proof.
13
            173.   As a further proximate result of the wrongful acts of Defendants, and each of
14
15   them, Plaintiff has been harmed in that Plaintiff will suffer future damage for loss of the

16   wages, benefits, and additional amounts of money Plaintiff would have received if Plaintiff

17   had continued to work for Defendants in an amount within the jurisdiction of the Superior

18   Court of the State of California.
19          174.   As a further proximate result of the wrongful acts of Defendants, and each of
20   them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
21   employment-related opportunities as further work experience and seniority. As a result of such
22   wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
23   be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
24          175.   As a result of the wrongful acts of Defendants, and each of them, as delineated
25
     above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves
26
     the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled
27
     to attorney's fees pursuant to California Government Code section 12965 in an amount to be
28
     shown pursuant to law after entry of judgment in Plaintiff's favor.
                                                     46
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          176.   Additionally, the wrongful, intentional, deliberate conduct of the Defendants
 2   identified herein was done in conscious and reckless disregard of Plaintiff's rights so as to
 3   warrant the imposition of punitive damages pursuant to Civil Code §3294 in an amount
 4   sufficient to punish and set an example of Defendants, and to deter them from engaging in
 5
     similar illegal, discriminatory and unlawful conduct to the extent permitted by law.
 6
                               SIXTEENTH CAUSE OF ACTION
 7           Discrimination Based Upon Opposing Forbidden Practices By Defendants
                               - Government Code, Section 12940(h)
 8
                   (Against Defendants AMPLITY HEALTH, AMPLITY, INC.,
 9                              and DOES 1 through 30, inclusive)
10          177.   Plaintiff re-alleges and incorporates by reference under this cause of action each
11
     and every allegation made in each and every paragraph hereinabove, as if fully set forth
12
     hereunder.
13
            California Government Code, Section 12940(h) states:
14
                     “For any employer, labor organization, employment agency, or person
15           to discharge, expel, or otherwise discriminate against any person because the
16           person has opposed any practices forbidden under this part or because the
             person has filed a complaint, testified, or assisted in any proceeding under this
17           part..”
18
19          178.   Plaintiff opposed Defendants’ practices of discriminating against her for her

20   sincere religious creed, faith, and beliefs. Defendants, and each of them, wrongfully terminated
21   Plaintiff’s employment as a direct result, at least partially, of Plaintiff’s insistence on placing a
22   priority on those religious beliefs in refusing the Defendant’s vaccine mandate.
23          179.   As a direct and proximate cause of the Defendants' unlawful, wrongful,
24   intentional, discriminatory and retaliatory conduct, Plaintiff suffered and continues to suffer
25   emotional distress, worry, humiliation, mental anguish, anxiety, loss of enjoyment of life and
26   related general damages, past and future, medical and out-of-pocket economic and incidental
27   expenses, past and future, lost earnings and loss of career opportunities, past and future,
28

                                                      47
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1   statutory attorney's fees and costs, with interest thereon, and consequential damages, in an
 2   amount according to proof.
 3           180.   As a further proximate result of the wrongful acts of Defendants, and each of
 4   them, Plaintiff has been harmed in that Plaintiff will suffer future damage for loss of the
 5
     wages, benefits, and additional amounts of money Plaintiff would have received if Plaintiff
 6
     had continued to work for Defendants in an amount within the jurisdiction of the Superior
 7
     Court of the State of California.
 8
             181.   As a further proximate result of the wrongful acts of Defendants, and each of
 9
     them, Plaintiff has been harmed in that Plaintiff has suffered the intangible loss of such
10
     employment-related opportunities as further work experience and seniority. As a result of such
11
     wrongful conduct and consequent harm, Plaintiff has suffered such damages in an amount to
12
     be shown at time of trial within the jurisdiction of the Superior Court of the State of California.
13
             182.   As a result of the wrongful acts of Defendants, and each of them, as delineated
14
15   above, Plaintiff has been forced to employ an attorney to vindicate her rights which involves

16   the enforcement of an important right affecting the public interest. As such, Plaintiff is entitled

17   to attorney's fees pursuant to California Government Code section 12965 in an amount to be

18   shown pursuant to law after entry of judgment in Plaintiff's favor.
19           183.   Additionally, the wrongful, intentional, deliberate conduct of the Defendants
20   identified herein was done in conscious and reckless disregard of Plaintiff's rights so as to
21   warrant the imposition of punitive damages pursuant to Civil Code §3294 in an amount
22   sufficient to punish and set an example of Defendants, and to deter them from engaging in
23   similar illegal, discriminatory and unlawful conduct to the extent permitted by law.
24   /   /   /
25
     /   /   /
26
     /   /   /
27
     /   /   /
28

                                                     48
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          WHEREFORE, Plaintiff respectfully prays this Court enter judgment in favor of
 2   Plaintiff, and against Defendants, and each of them, as follows:
 3          1.     For monetary damages for the loss of past wages, salary, benefits, and additional
 4                 amounts of money Plaintiff would have received if she continued to work for
 5
                   Defendants in an amount to be shown at the time of trial;
 6
            2.     For monetary damages for future loss of the wages, benefits, and additional
 7
                   amounts of money Plaintiff would have received if Plaintiff had continued to
 8
                   work for Defendants in an amount to be shown at the time of trial;
 9
            3.     For monetary damages for the loss of intangible employment-related
10
                   opportunities as further work experience, career opportunities, damage to
11
                   reputation, and seniority in an amount to be shown at the time of trial;
12
            4.     For monetary damages for humiliation, anxiety, and emotional distress in an
13
                   amount to be shown at the time of trial;
14
15          5.     For general damages, past and future, as may be established according to proof

16                 at trial;

17          6.     For compensatory and special damages, past and future, as may be established

18                 according to proof at trial;
19          7.     For incidental expenses and damages as may be established according to proof at
20                 trial;
21          8.     For prejudgment and post-judgment interest on all damages awarded, at the legal
22                 rate;
23          9.     For all statutory and civil penalties as may be established according to proof at
24                 trial;
25
            10.    For injunctive relief, according to proof at the time of trial;
26
            11.    For punitive and exemplary damages as may be established according to proof at
27
                   trial;
28
            12.    For reasonable attorney’s fees;
                                                      49
                               COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                      AND STATUTORY PENALTIES
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 1          13.   For costs of suit incurred;
 2          14.   For such other and further relief as the Court deems just and proper.
 3     DATED: October 3, 2023          LAW OFFICES OF STEVEN D. WAISBREN
 4
 5                                              ______________________________________
 6                                              Steven D. Waisbren, Esq.
                                                Attorneys for Plaintiff
 7                                              RUKIYA GORDON
 8
 9
10
11
12
                                   REQUEST FOR JURY TRIAL
13
            Plaintiff, RUKIYA GORDON, requests a jury trial in the above-entitled action.
14
       DATED: October 3, 2023                   LAW OFFICES OF STEVEN D. WAISBREN
15
16
                                                ______________________________________
17
                                                Steven D. Waisbren, Esq.
18                                              Attorneys for Plaintiff
                                                RUKIYA GORDON
19
20
21
22
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                                                    50
                             COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF,
                                    AND STATUTORY PENALTIES
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                EXHIBIT “A”
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 1                         COMPLAINT OF EMPLOYMENT DISCRIMINATION
                               BEFORE THE STATE OF CALIFORNIA
 2                                         Civil Rights Department
                       Under the California Fair Employment and Housing Act
 3
                                    (Gov. Code, § 12900 et seq.)
 4
      In the Matter of the Complaint of
 5     Rukiya Gordon                                                     CRD No. 202304-20395420

 6                                   Complainant,
      vs.
 7
       Amplity Health
 8
       1000 Floral Vale Blvd., Suite 400
 9     Yardley, PA 19067

10     Amplity, Inc.
       1000 Floral Vale Blvd., Suite 400
11     Yardley, PA 19067

12                                    Respondents

13

14
      1. Respondent Amplity Health is an employer subject to suit under the California Fair
15    Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

16    2.Complainant is naming Amplity, Inc. business as Co-Respondent(s).

17    3. Complainant Rukiya Gordon, resides in the City of Lancaster, State of CA.

18
   4. Complainant alleges that on or about January 31, 2022, respondent took the
19 following adverse actions:

20 Complainant was discriminated against because of complainant's religious creed -
      includes dress and grooming practices, disability (physical, intellectual/developmental,
21
      mental health/psychiatric) and as a result of the discrimination was terminated, denied hire
22    or promotion, asked impermissible non-job-related questions, denied any employment
      benefit or privilege, denied accommodation for religious beliefs, denied work opportunities or
23    assignments, denied or forced to transfer, denied accommodation for a disability.

24 Complainant experienced retaliation because complainant reported or resisted any form
      of discrimination or harassment, requested or used a disability-related accommodation,
25 requested or used a religious accommodation and as a result was terminated, denied hire or

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27
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28
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 1 promotion, asked impermissible non-job-related questions, denied any employment benefit
      or privilege, denied accommodation for religious beliefs, denied work opportunities or
 2 assignments, denied or forced to transfer, denied accommodation for a disability.

 3
      Additional Complaint Details: Complainant had been employed by Respondents for
 4 approximately 12 years as a pharmaceutical sales representative. She had a flawless and
      successful record, including numerous commendations.
 5
      On September 8, 2021, Respondents advised Complainant that she would have to undergo
 6
      the administration of the Covid vaccine. Due to Complainant’s sincerely held religious
 7    beliefs and physician-approved medical limitations, this was problematic for her.
      Specifically, she advised Respondents of the following with respect to her religious beliefs
 8    as they relate to the vaccine mandate:

 9 “This vaccine mandate is a gross violation of my currently held religious beliefs. The Bible
      teaches me that my body is the temple of God (1 Corinthians 6:19). As a living temple, I
10 believe that I must protect my body, and keep it as holy as I can, and that I must not put any
      harmful substances into my body, nor take any action that unnecessarily risks my health. (1
11 Corinthians 3:17) “If any man defile the temple of God, him shall God destroy, for the temple
      of God is holy, which temple ye are.” This is a belief that I observe daily in my choice of diet,
12 strict avoidance of tobacco, as well as engaging in other health practices. I have made a
      substantial effort to investigate the risks and benefits of receiving a COVID-19 vaccine. I
13 have learned that the vaccines available at this time carry substantial risks, including risks of
      adverse reactions like myocarditis, pericarditis, blood clots, severe allergic reactions, and
14 death. I am aware that fully vaccinated persons can contract, transmit and die from
      complications resulting from the COVID-19 infection and it's variants even after being fully
15
      vaccinated. In addition to teaching me that my body is the temple of God, the Bible also
16    teaches me about the sanctity of the life of unborn children. It teaches specifically that life
      begins at conception and that I must not endorse the killing of unborn children directly nor
17    indirectly for any purpose. It is an abomination in the eyes of my God. It is a known fact that
      aborted fetal cells of unborn human beings were used in the testing and development of the
18    COVID-19 vaccines. The vaccines used one of two aborted human fetal cell lines: HEK-293
      (Human Embryonic Kidney 293) taken from a female fetus and PER.C6, a cell line
19    developed from human embryonic retinal cells. It is my sincere religious belief that for me to
      benefit from the murder of innocent human life of pre-born children is immoral and a sin
20    against my God and those murdered children. Even if the safety and efficacy of the vaccines
      were certain and the danger of the disease greater, I cannot in good conscience receive a
21    COVID-19 vaccine. Finally, there is zero legal authority for any employer to mandate or
      require any employee to go against their moral and religious beliefs regarding this matter.”
22
      Complainant, pursuant to company policy and California law, submitted an official and
23 proper request for an exemption from the vaccine mandate based upon her religious beliefs.
      On September 16, 2021, she also made a formal request for a reasonable accommodation.
24
      After consideration (the comprehensiveness of which is unknown) by Respondents of both
25    her exemption and accommodation requests, Complainant’s requests were denied in toto.

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 1 For some unknown reason, Complainant was never offered any legal or factual justification
      for that denial.
 2
      On March 29, 2021, Complainant had also obtained a medical report from her physician
 3 stating that the Covid vaccine was not medically advisable for her. When she submitted a
      medical exemption request, that was denied as well. Similarly, she was not offered or
 4 provided with any explanation to justify that decision, nor did Respondents engage in the
      legally required interactive process.
 5
      It should be noted that Respondents did offer an inadequate accommodation which was
 6
      intended more as a bludgeon to force Complainant’s compliance, rather than a sincere and
 7    genuine effort to accommodate her medical and religious limitations so that she could
      continue working.
 8
      In particular, Respondents offered Complainant the following:
 9
      She would be permitted to continue in her position without undergoing the vaccine injection,
10 on the condition that she would have to submit a negative vaccine test every 72 hours, and
      wear a mask when in-person interactions were required. Unfortunately, this
11 “accommodation” was only provided for 30 days. Thereafter, if Complainant had not
      accepted the injection within that time period, her employment would be terminated.
12
      Complainant continued with her employment in compliance with the 30-day policy, and she
13 also continued her refusal to accept the vaccine. As promised, at the conclusion of the 30-
      day period, Complainant was wrongfully terminated in violation of California law.
14
      Respondents engaged in additional violations of law. Specifically, Complainant became
15
      aware that Respondents were seeking to fill a position which involved remote work
16    exclusively. The job posting was uploaded on the day after her termination became
      effective. Complainant requested the opportunity to take that position, especially since it
17    would have satisfied the reasonable accommodation requirement.

18 To that end, Respondents agreed to interview Complainant for that position (which was a
      questionable action since Respondents had been well aware of her qualifications and
19 experience during the previous 12 years of employment). Nevertheless, Complainant
      engaged with Respondents for the interview process.
20
      As it turns out, Respondents’ intentions with regard to the interview were not honorable.
21 Instead of inquiring about Complainant’s experience, qualifications, work ethic,
      organizational skills, ability to work with others, her greatest strengths and weaknesses, why
22 she wanted the position, factors that motivate her in life, how she overcomes adverse
      employment situations, her ability to manage stress or change, conflict resolution skills, how
23 her skills align with the position, and other pertinent inquiries, the Respondents' interviewer
      commented on Complainant’s headdress, asked specific questions about her religious
24
      beliefs, and related subjects. The Respondents' interviewer asked Complainant whether
25    whether she was Muslim. Complainant was bombarded with reasons that the job was not

26                                                  -3-
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28
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 1 for her. It is clear that the purpose of the interview was not to genuinely determine whether
      Complainant was qualified for the position (which she obviously was), but instead to extract
 2 information from her to support Respondents' justification for denying her religious
      exemption.
 3

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                                   Complaint – CRD No. 202304-20395420
27
      Date Filed: April 20, 2023
28
                                                                              CRD-ENF 80 RS (Revised 12/22)
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 1 VERIFICATION

 2 I, Steven Waisbren, am the Attorney in the above-entitled complaint. I have read
   the foregoing complaint and know the contents thereof. The matters alleged are
 3
   based on information and belief, which I believe to be true.
 4
   On April 20, 2023, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.

 6                                                                       Woodland Hills, CA
 7

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26                                                 -5-
                                   Complaint – CRD No. 202304-20395420
27
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28
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                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The     following   organizations   endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                                 Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                               Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers               Consumer Attorneys Association of Los Angeles


                                             Southern California Defense Counsel


                                             Association of Business Trial Lawyers

California Employment
Lawyers Association
                                        California Employment Lawyers Association
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION                   EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents                          . (For example, in an
                employment case, the employment records, personnel file and documents relating to the

                  police report, medical records, and repair or maintenance records could be considered


             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION           EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                    Page 1 of 2
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SHORT TITLE:                                                                      CASE NUMBER:




               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org        Civil                General Information

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to ____________________ for the complaint, and ______________________ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org           Civil
                        General Information                Voluntary Efficient Litigation Stipulations

3.             The parties will prepare a joint report titled Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the p
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             R
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:

                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR _____________________)
Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR _____________________)
Date:

                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR _____________________)


LACIV 229 (Rev 02/15)
LASC Approved 04/11          STIPULATION        EARLY ORGANIZATIONAL MEETING                            Page 2 of 2
       Print                   Save                                                                     Clear
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                                       #:115
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3
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SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a “specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036 (new)
LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                              Page 2 of 3
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 79 of 106 Page ID
                                 #:117
SHORT TITLE:                                                       CASE NUMBER:




The following parties stipulate:

Date:

                (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
Date:

                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:

                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:

                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:

                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)




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LACIV 036 (new)
LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                            Page 3 of 3
      Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 80 of 106 Page ID
                                       #:118


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                    Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                   CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________ (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________ (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
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      Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 81 of 106 Page ID
                                       #:119


NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                                                     Page 1 of 2
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 82 of 106 Page ID
                                 #:120
SHORT TITLE:                                                   CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:

               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)



THE COURT SO ORDERS.

  Date:
                                                               JUDICIAL OFFICER




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LACIV 075 (new)
LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                   Page 2 of 2
Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 83 of 106 Page ID
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Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 86 of 106 Page ID
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                     EXHIBIT “2”
          Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 87 of 106 Page ID
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ATTORNEY OR PARTY WFTHOUT ATTORNEY:
            PARTY WITHOUT ATTUMEV:                           STATE OAR
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                                                                       NO:    116315
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NAME:
NPAE:  Steven    Waisbren,
        Steven Walsbren,    Esq. Esq.
HMI  NAME: LAW
FIRM NAGS            OFFICES
           LAW OFFICES             OF STEVEN
                              OF STEVEN            WAISBREN
                                             WAISBREN
        ADDRESS: 5850
STREET Amitunt
!STREET                   Canoga
                  5850 Canoga        Ave.,
                                   Ave.,     Suite
                                         Suite 400 400
CITY: Agoura
      WoodlandHillsI-Mis                                STATE: CA
                                                        STATE:   CA     fp  CODE: 91367
                                                                        ZIP corn:  91367
re_En-ictu       (8118) 7710-7102
           NO.: (818)
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                                                       FAX NO. :: (818)
                                                                  (818) 532-1214
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E-MAIL ADCRE3e    stev)p7 walsixenlaw.com
       ADDRESS: steve@waisbrenlaw.com

ATTORNEY FOR
ATTOMEY   FOR (Nertfn   PlakitIff RLIKIYA
              (Name): Plaintiff   RUKIYA       GORDON
                                          GORDON
SUPERIOR COURT OF     OF Ciu_Fonrort,
                          CALIFORNIA, COuNrir
                                         COUNTY CFOF LOS
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  STREET ADDRESS:
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(CITY
   W AM)
      AND zip CODE: Lancaster,
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     (MUCH
     BRANCH NPAU    Michael
              NAME: Michael    Antonovich
                            Antonovich        Antelope
                                         Antelope        Valley Courthouse
                                                  Valey Courthouse
      Plaintiff/Petitioner: RUK1YA
      PialnaffiPetiloner:    RUKIYAGORDON
                                      GORDON
 Defendant/Respondent: AMPLITY
                             AMPLITYHEALTH, et.al.
                                        HEALTH,    et.al.
                                                                                                                   CASE WRIER
                                                                                                                        NUMBER:
                  NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                       23AVCV01245
                                                                                                                      23AVCV01245

TO (insert      of party
   (Insert name of                        AMPLITY,
                   party being served): AMPLITY      INC.
                                                HEALTH

                                                                    NOTICE
     The summons and other documents identified below are being served pursuant to section 415.33                California Code of CM
                                                                                                   415.30 of the Calfornia          Civil
                       failure to complete this form and return it within 20 days from the date of mang
     Procedure. Your falure                                                                        mailing shown below may subject you
     (or the party on whose behalf you are being served) to labilty
                                                              liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process an on behalf of such
     entity. In al
                all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge recut
                                                                                                                              receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of recutreceipt below.


Date of mang:             20, 2024
        mailing: February 14,


                    Steven Waisbren, Esq. Esq.
                           Steven Waisbren,
                                     (TYPE OR PRINT
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                                                    NAME)                                               (31MATVRE     SENDER—MUST NOT PE
                                                                                                        (SIGNATURE OF EJEMER-PARIT    BE A PARTY
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                                                                                                                                                     THIS CASE)



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1.     X A copy of the summons and of the complaint.
2.     X Other (specify):
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Date this tan                             February 27, 2024

Alexander J. Harwin for Lewis Brisbois Bisgaard & Smith, LLP                                                 ..




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                                 #:126



   1                      CALIFORNIA STATE COURT PROOF OF SERVICE
                           RUKIYA GORDON v. AMPLITY HEALTH, ET AL.
   2                       Antelope Valley Courthouse Case No. 23AVCV01245

   3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

   4          At the time of service, I was over 18 years of age and not a party to this action. My
       business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
   5
          On February 27, 2024, I served true copies of the following document(s): NOTICE AND
   6 ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT, NOTICE OF
     CASE ASSIGNMENT, NOTICE OF CASE MANAGEMENT CONFERENCE, CIVIL
   7 COVER SHEET, CIVIL CASE COVER SHEET-ADDENDUM, ALTERNATIVE
     DISPUTE RESOLUTION INFORMATION PACKAGE, VOLUNTARY EFFICIENT
   8 LITIGATION STIPULATIONS

   9         I served the documents on the following persons at the following addresses (including fax
       numbers and e-mail addresses, if applicable):
  10
     Steven Waisbren                                     Attorneys for Plaintiff,
  11 LAW OFFICES OF STEVEN WAISBREN                      RUKIYA GORDON
     5850 Canoga Avenue
  12 Suite 400
     Woodland Hills, California 91367
  13 Tel: (818) 710-7102
     Fax: (818) 532-1214
  14 Email: steve@waisbrenlaw.com

  15          The documents were served by the following means:
  16         (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
              agreement of the parties to accept service by e-mail or electronic transmission, I caused the
  17          documents to be sent from e-mail address Elizabeth.Solidum@lewisbrisbois.com to the
              persons at the e-mail addresses listed above. I did not receive, within a reasonable time
  18          after the transmission, any electronic message or other indication that the transmission was
              unsuccessful.
  19
            I declare under penalty of perjury under the laws of the State of California that the
  20 foregoing is true and correct.

  21          Executed on February 27, 2024, at Los Angeles, California.
  22

  23

  24
                                                        Elizabeth S. Solidum
  25

  26

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Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 89 of 106 Page ID
                                 #:127




                     EXHIBIT “3”
                   Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 90 of 106 Page ID
                                                    #:128



                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        ALEXANDER J. HARWIN, SB# 225254
                      2   E-Mail: Alexander.Harwin@lewisbrisbois.com
                        MARY DANIEL, SB# 342143
                      3   E-Mail: Mary.Daniel@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      4 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      5 Facsimile: 213.250.7900

                      6 Attorneys for Defendant, Amplity, Inc.

                      7
                                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      8
                                         MICHAEL ANTONOVICH ANTELOPE VALLEY COURTHOUSE
                      9

                     10
                          RUKIYA GORDON, an individual,                      Case No. 23AVCV01245
                     11
                                          Plaintiff,                         Assigned for All Purposes to the Hon. Daniel
                     12                                                      L. Alexander, Dept. A15
                                   vs.
                     13                                                      DEFENDANT AMPLITY, INC.’S
                        AMPLITY HEALTH, an unknown business                  ANSWER TO PLAINTIFF RUKIYA
                     14 entity, AMPLITY, INC., a corporation and             GORDON’S COMPLAINT
                        DOES 1-10, DOES 11-20 and DOES 21-30,
                     15 inclusive,                                           Action Filed:         10/31/2023
                                                                             Trial Date:           None Set
                     16                   Defendants.

                     17

                     18

                     19
                     20 TO PLAINTIFF AND TO HER ATTORNEYS OF RECORD:

                     21            Defendant, Amplity, Inc. (which uses the trade name “Amplity Health” and hereinafter

                     22 referred to as “Defendant”) hereby submits its answer to Plaintiff, Rukiya Gordon’s unverified

                     23 Complaint.

                     24                                         GENERAL DENIAL

                     25            1.     Under the provisions of Section 431.30 of the California Code of Civil Procedure,

                     26 Defendant denies each, every, and all of the allegations of the Complaint and the whole thereof

                     27 and denies that Plaintiff has sustained damages in the sums alleged, or in any other sum, or at all.

                     28 / / /
LEWIS
BRISBOIS                  136898575.1
BISGAARD
& SMITH LLP                                      DEFENDANT AMPLITY, INC.’S HEALTH’S ANSWER TO
ATTORNEYS AT LAW                                    PLAINTIFF RUKIYA GORDON’S COMPLAINT
                   Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 91 of 106 Page ID
                                                    #:129



                      1            2.    Further answering the Complaint, and the whole thereof, Defendant denies that

                      2 Plaintiff has sustained any injury, damage or loss, if any, by reason of any act or omission or

                      3 negligence on the part of the Defendant.

                      4                                     AFFIRMATIVE DEFENSES

                      5                                  FIRST AFFIRMATIVE DEFENSE

                      6                                   (Failure to State a Cause of Action)

                      7            3.    The Complaint fails to state facts sufficient to constitute a cause of action against

                      8 Defendant.

                      9                                SECOND AFFIRMATIVE DEFENSE

                     10                                      (After-Acquired Evidence Doctrine)

                     11            4.    Defendant alleges that the Complaint is limited or subject to an absolute bar as to

                     12 recoverable damages based on after-acquired evidence that Defendant has presently and/or may

                     13 acquire during the course of this litigation.

                     14                                 THIRD AFFIRMATIVE DEFENSE

                     15                                                     (Laches)

                     16            5.    Plaintiff’s claims as set forth in the Complaint are barred by the equitable doctrine

                     17 of laches by reason of her inexcusable and unreasonable delay in filing the Complaint and/or in

                     18 providing notice of the disputes at issue to Defendant.

                     19                                FOURTH AFFIRMATIVE DEFENSE
                     20                                                 (Estoppel)

                     21            6.    Defendant is informed and believes and thereon allege that Plaintiff is estopped by

                     22 her own conduct from asserting any and all claims she may have had against Defendant arising

                     23 from the transactions and occurrences set forth in the Complaint.

                     24                                  FIFTH AFFIRMATIVE DEFENSE

                     25                                         (Statute of Limitations)

                     26            7.    Certain of Plaintiff’s claims are barred in whole or in part to the extent the events

                     27 complained of took place more than one (1) year prior to the filing of Plaintiff’s Complaint with

                     28 the California Department of Fair Employment and Housing and/or one (1) year or two (2) years
LEWIS
BRISBOIS                  136898575.1                                       2
BISGAARD
& SMITH LLP                                     DEFENDANT AMPLITY, INC.’S HEALTH’S ANSWER TO
ATTORNEYS AT LAW                                   PLAINTIFF RUKIYA GORDON’S COMPLAINT
                   Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 92 of 106 Page ID
                                                    #:130



                      1 prior to the filing of the Complaint in this action, pursuant to Government Code § 12965,

                      2 subdivision (b) and more than one (1) year, (3) years, or four (4) years prior to the filing of the

                      3 Complaint pursuant to Code of Civil Procedure §§ 338, 340, Business and Professions Code

                      4 section 17200, et seq., and Labor Code section 203.

                      5                                  SIXTH AFFIRMATIVE DEFENSE

                      6                                (Plaintiff Did Not Sustain Any Damages)

                      7            8.    Defendant is informed and believes and thereon alleges that Plaintiff’s claim for

                      8 prejudgment interest pursuant to Civil Code § 3288 is barred because Plaintiff sustained no

                      9 damages and Defendant paid Plaintiff all of the wages she was owed.

                     10                                SEVENTH AFFIRMATIVE DEFENSE

                     11                                          (Satisfaction of Claim)

                     12            9.    Plaintiff is entirely, or alternatively, partially, barred from recovery in this action to

                     13 the extent that she has received any consideration from Defendant or from anyone else in

                     14 satisfaction of any purported claim against Defendant.

                     15                                 EIGHTH AFFIRMATIVE DEFENSE

                     16                             (Contributory and/or Comparative Negligence)

                     17            10.   Defendant alleges that Plaintiff was partially, if not wholly, negligent or otherwise

                     18 at fault on her own part and should be barred completely and/or from recovery of that portion of

                     19 the damages directly attributable to their proportionate share of the intentional acts, negligence or
                     20 fault, pursuant to the doctrine of comparative negligence.

                     21                                  NINTH AFFIRMATIVE DEFENSE

                     22                                                  (Waiver)

                     23            11.   Defendant is informed and believes and thereon alleges that Plaintiff has waived

                     24 any and all claims that she may have had against Defendant arising from the transactions and

                     25 occurrences set forth in the Complaint. Subject to proof by discovery, some or all of the claims of

                     26 Plaintiff is barred in whole or in part because such claims have been waived, discharged,

                     27 abandoned, and/or released.

                     28 / / /
LEWIS
BRISBOIS                  136898575.1                                        3
BISGAARD
& SMITH LLP                                     DEFENDANT AMPLITY, INC.’S HEALTH’S ANSWER TO
ATTORNEYS AT LAW                                   PLAINTIFF RUKIYA GORDON’S COMPLAINT
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                                                    #:131



                      1                                  TENTH AFFIRMATIVE DEFENSE

                      2                                          (No Reasonable Belief)

                      3            12.    Plaintiff had no reasonable cause to believe any unlawful activity or alleged

                      4 violations of state or federal statutes, rule or regulation was committed by Defendant.

                      5                               ELEVENTH AFFIRMATIVE DEFENSE

                      6                             (Failure to Plead with Certainty and Particularity)

                      7            13.    The allegations of the Complaint, and each purported cause of action contained

                      8 therein, are not pled with sufficient particularity and are uncertain, vague, ambiguous, and

                      9 unintelligible.

                     10                                TWELFTH AFFIRMATIVE DEFENSE

                     11                                                 (Standing)

                     12            14.    Defendant is informed and believes and, on that basis, alleges that Plaintiff lacks

                     13 standing to sue the Defendant as to the causes of action and penalties alleged.

                     14                              THIRTEENTH AFFIRMATIVE DEFENSE

                     15                                          (Unintentional Conduct)

                     16            15.    Plaintiff’s claims are barred, in whole or in part, because the retaliatory conduct

                     17 that Plaintiff allege were not intentional.

                     18                             FOURTEENTH AFFIRMATIVE DEFENSE

                     19                                           (Good Faith Dispute)
                     20            16.    Plaintiff’s Complaint, and each and every cause of action set forth therein alleged

                     21 against Defendant, is barred, in whole or in part, because actions taken with respect to Plaintiff’s

                     22 employment, if any, were based on an honest, reasonable, and good faith belief in the facts as

                     23 known and understood at the time.

                     24                               FIFTEENTH AFFIRMATIVE DEFENSE

                     25                                           (Unconstitutionality)

                     26            17.    The Complaint seeks damages not properly recoverable against Defendant or

                     27 constitutional.

                     28 / / /
LEWIS
BRISBOIS                  136898575.1                                        4
BISGAARD
& SMITH LLP                                      DEFENDANT AMPLITY, INC.’S HEALTH’S ANSWER TO
ATTORNEYS AT LAW                                    PLAINTIFF RUKIYA GORDON’S COMPLAINT
                   Case 2:24-cv-01614-MWF-MAA Document 1-2 Filed 02/27/24 Page 94 of 106 Page ID
                                                    #:132



                      1                              SIXTEENTH AFFIRMATIVE DEFENSE

                      2                           (Avoidable Consequences/Lack of Reasonable Care)

                      3            18.   Plaintiff is precluded from asserting h Complaint, and each purported cause of

                      4 action therein, because she failed to exercise reasonable care to avoid the injuries she purportedly

                      5 suffered in that, among other things, Plaintiff unreasonably failed to utilize Defendant’s internal

                      6 complaint procedures. Plaintiff had a duty to use such means as are reasonable under the

                      7 circumstances to avoid or minimize the damages that result from statutory violations (if any). To

                      8 the extent there was any statutory violation (which is not admitted but considered solely for

                      9 purposes of this affirmative defense), Plaintiff unreasonably failed to avoid or reduce harm. This

                     10 includes an obligation that if Plaintiff felt she was mistreated, Plaintiff had an obligation to utilize

                     11 her employer’s internal complaint procedures and timely bring that to the attention of a supervisor

                     12 or a member of management so that if there was any violation, it would be promptly corrected and

                     13 remedied and would not be allowed to repeat and recur. Plaintiff is therefore barred from any

                     14 recovery based on any harm that could have been reasonably avoided.

                     15                            SEVENTEENTH AFFIRMATIVE DEFENSE

                     16                                           (Assumption of Risk)

                     17            19.   Defendant alleges based upon information and belief that Plaintiff freely and

                     18 voluntarily assumed the risk of injury and damage alleged in this action with full knowledge and

                     19 appreciation of the magnitude thereof.
                     20                             EIGHTEENTH AFFIRMATIVE DEFENSE

                     21                                      (Failure to Mitigate Damages)

                     22            20.   If Plaintiff suffered any damages as a result of the facts alleged in the Complaint,

                     23 which Defendant denies, Plaintiff is not entitled to recover the amount of damages alleged or

                     24   any damages due to Plaintiff’s failure to make reasonable efforts to mitigate or minimize the

                     25 damages incurred.

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                      1                             NINETEENTH AFFIRMATIVE DEFENSE

                      2                                          (No Proximate Cause)

                      3            21.   Defendant alleges that any acts or omissions to act by Defendant was not the

                      4 proximate cause of any injury suffered by Plaintiff.

                      5                              TWENTIETH AFFIRMATIVE DEFENSE

                      6                                             (Unclean Hands)

                      7            22.   Plaintiff is barred from maintaining the Complaint and each purported cause of

                      8 action therein as a result of her unclean hands with respect to the events upon which the Complaint

                      9 and purported causes of action allegedly are based. Specifically, Defendant is informed and

                     10 believes, and on that basis alleges that, Plaintiff and failed to follow certain policies and

                     11 procedures in her employment with Defendant. Defendant is informed and believes and thereon

                     12 alleged that Plaintiff’s conduct concerning the matters alleged in the Complaint constitutes

                     13 carelessness, negligence, misconduct and/or bad faith, or Plaintiff was otherwise at fault, and the

                     14 resulting injuries, if any, sustained by Plaintiff, were proximately caused and contributed to, in

                     15 whole or in part, by the conduct of Plaintiff and/or other third parties, thus barring or limiting

                     16 Plaintiff’s right of recovery.

                     17                            TWENTY-FIRST AFFIRMATIVE DEFENSE

                     18                                         (No Vicarious Liability)

                     19            23.   Defendant cannot be vicariously liable for the alleged acts of Defendant’s
                     20 employees and thus is not responsible for the causes of action asserted by Plaintiff.

                     21                          TWENTY-SECOND AFFIRMATIVE DEFENSE

                     22                                    (No Adverse Employment Action)

                     23            24.   Plaintiff never suffered any adverse employment actions.

                     24                           TWENTY-THIRD AFFIRMATIVE DEFENSE

                     25                              (Failure to Exhaust Administrative Remedies)

                     26            25.   Defendant alleges that Plaintiff’s causes of action are barred as Plaintiff has failed

                     27 to satisfy the statutory prerequisites to sue and to exhaust administrative remedies under the Fair

                     28 Employment and Housing Act (“FEHA”), California Government Code § 12940 et seq., the Equal
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                      1 Employment Opportunity Commission (“EEOC”), 42 U.S.C. § 2000e, et seq. (Title VII of the

                      2 Civil Rights Act of 1964 (“Title VII”), collective bargaining agreement, open door and dispute

                      3 resolution policy and/or any other applicable administrative remedy.

                      4                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

                      5                                         (Business Justification)

                      6            26.   Defendant alleges that its activities undertaken with respect to Plaintiff, if any, were

                      7 justified as such activities were proper, fair, and legitimate business activities and/or due to

                      8 business-related reasons which were neither arbitrary, capricious nor unlawful.

                      9                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

                     10                                          (No Willful Conduct)

                     11            27.   Even if Defendant engaged in the conduct alleged by Plaintiff, which allegations

                     12 Defendant denies, such actions or failure to act were not willful.

                     13                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     14                                       (Attorneys’ Fees and Costs)

                     15            28.   Plaintiff’s Complaint and each purported cause of action therein were not brought

                     16 in good faith and are frivolous. Therefore and pursuant to statute, the relief requested is precluded

                     17 and Defendant is entitled to recover its reasonable expenses, including attorney’s fees, incurred

                     18 herein as a matter of law pursuant to this Court’s inherent authority and California Code of Civil

                     19 Procedure § 128.7 and/or Government Code § 12956.
                     20                    TWENTY-SEVENTH AFFIRMATIVE ACTION DEFENSE

                     21                                  (Legitimate Non-Retaliatory Actions)

                     22            29.   Plaintiff is barred from any recovery in the action because all of Defendant’s

                     23 actions toward Plaintiff were taken for legitimate, non-retaliatory reasons.

                     24                     TWENTY-EIGHTH AFFIRMATIVE ACTION DEFENSE

                     25                          (Open Door and Dispute Resolution Policy Controls)

                     26            30.   Defendant is informed and believes and thereon allege that Plaintiff’s Complaint,

                     27 and the purported causes of action alleged therein, are improper subjects of suit as the proper

                     28 forum for resolution and remedies for such causes of action, and each of them, are contained
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                      1 within the provisions of the policies of Defendant. Specifically, Defendant is informed and

                      2 believes, and on that basis alleges that, Plaintiff failed to follow certain policies and procedures in

                      3 her employment with Defendant.

                      4                           TWENTY-NINTH AFFIRMATIVE DEFENSE

                      5                                     (No Ratification by Defendant)

                      6            31.   Defendant did not ratify the conduct alleged in the Complaint. Specifically,

                      7 Defendant is informed and believes, and on that basis alleges that, Plaintiff failed to follow certain

                      8 policies and procedures in her employment with Defendant.

                      9                              THIRTIETH AFFIRMATIVE DEFENSE

                     10                                           (Bad-Faith Claims)

                     11            32.   The allegations and claims asserted in the Complaint have always been, and

                     12 continue to be, frivolous, groundless, and without merit. Plaintiff has brought this action in bad

                     13 faith.

                     14                            THIRTY-FIRST AFFIRMATIVE DEFENSE

                     15                            (Actions Not Based on a Protected Characteristic)

                     16            33.   No protected characteristic was a factor(s) or consideration(s) in any decision made

                     17 by Defendant concerning any of Plaintiff’s terms or conditions of employment..

                     18                           THIRTY-SECOND AFFIRMATIVE DEFENSE

                     19                                          (Willful Misconduct)
                     20            34.   The Complaint and each of its causes of action are barred by Plaintiff’s willful

                     21 misconduct.

                     22                            THIRTY-THIRD AFFIRMATIVE DEFENSE

                     23                                     (Isolated Incident or Incidents)

                     24            35.   Plaintiff is barred from recovery insofar as her claims are based upon an isolated

                     25 purported incident or incidents.

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                      1                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

                      2                                                  (Offset)

                      3            36.   Any recovery by Plaintiff in this action must be offset by damages Plaintiff has

                      4 caused this Defendant. Defendant intends to conduct discovery regarding this affirmative defense

                      5 and will present evidence at trial. See also Weil & Brown, Cal. Practice Guide: Civil Procedure

                      6 Before Trial (2016) para. 6:447, p. 6-132.

                      7                             THIRTY-FIFTH AFFIRMATIVE DEFENSE

                      8                                             (Plaintiff’s Acts)

                      9            37.   Defendant alleges that Plaintiff’s damages, if any, were caused by Plaintiff’s own

                     10 intentional or negligent acts, thus barring or limiting Plaintiff’s right of recovery.

                     11                             THIRTY-SIXTH AFFIRMATIVE DEFENSE

                     12                                               (Ratification)

                     13            38.   Defendant is informed and believes and thereon alleges that Plaintiff and/or any

                     14 agents of Plaintiff, at all times, gave her consent, welcomed conduct, express implied and/or

                     15 ratified the acts, purported omissions, representations, and/or other conduct of Defendant as

                     16 alleged in Plaintiff’s Complaint.

                     17                          THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                     18                           (Superseding, Intervening Conduct of Third Parties)

                     19            39.   Plaintiff’s alleged injuries or damages were proximately and legally caused by the
                     20 superseding and intervening conduct on the part of third parties, persons, and entities other than

                     21 Defendant and that, by virtue of said intervening and superseding conduct, Defendant has no legal

                     22 liability to Plaintiff herein.

                     23                           THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                     24                                              (No Causation)

                     25            40.   Defendant’s actions or omissions were not the cause of any of Plaintiff’s alleged

                     26 injuries and damages.

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                      1                            THIRTY-NINTH AFFIRMATIVE DEFENSE

                      2                                     (Defendant’s Good-Faith Belief)

                      3            41.   Defendant is informed and believes, and thereon alleges, that the Complaint, and

                      4 each and every cause of action set forth therein alleged against Defendant, are barred, in whole or

                      5 in part, because actions taken with respect to Plaintiff’s employment, if any, were based on an

                      6 honest, reasonable, and good-faith belief in the facts as known and understood at the time.

                      7                               FORTIETH AFFIRMATIVE DEFENSE

                      8                            (Conduct Outside Scope of Defendant’s Control)

                      9            42.   The alleged conduct giving rise to Plaintiff’s Complaint occurred outside the scope

                     10 of Defendant’s control and/or supervision.

                     11                             FORTY-FIRST AFFIRMATIVE DEFENSE

                     12                                (Breach of Agreement, Covenant or Duty)

                     13            43.   Plaintiff’s claims are barred in its entirety by the fact that Plaintiff breached any

                     14 agreement, contract, covenant, or duty which might be found to exist.

                     15                           FORTY-SECOND AFFIRMATIVE DEFENSE

                     16                                         (Spoliation of Evidence)

                     17            44.   Defendant is informed and believes and thereon alleges that Plaintiff and/or her

                     18 agents failed to preserve evidence, and by way of spoliation of evidence, Plaintiff and/or her

                     19 agents have prevented and/or precluded the Defendant from properly investigating and preparing
                     20 an adequate defense to the matters herein alleged, all to the Defendant’s irreparable damage,

                     21 thereby and thereupon providing a legal basis for relief, including her failure to timely disclose her

                     22 disputes, failure to follow certain policies and procedures in her employment with Defendant as

                     23 well as her failure to retain her cellular phone and electronic records which may undermine her

                     24 claims.

                     25                            FORTY-THIRD AFFIRMATIVE DEFENSE

                     26                                         (Mistake of Fact or Law)

                     27            45.   Plaintiff’s claims are barred by either a mistake of fact or a mistake of law or both.

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                      1                           FORTY-FOURTH AFFIRMATIVE DEFENSE

                      2                                          (Speculative Damages)

                      3            46.   Plaintiff is precluded from recovering the damages alleged in the Complaint

                      4 because those damages are too vague, uncertain and speculative to permit recovery.

                      5                             FORTY-FIFTH AFFIRMATIVE DEFENSE

                      6                                      (Failure to Fulfill Obligations)

                      7            47.   Plaintiff’s Complaint is barred in its entirety by the fact that Plaintiff has not

                      8 satisfied general statutory obligations imposed on employees under Labor Code sections 2850

                      9 2866 to, e.g., use ordinary care and diligence in following employer’s directives.

                     10

                     11                             FORTY-SIXTH AFFIRMATIVE DEFENSE

                     12                                        (Workers’ Compensation)

                     13            48.   Defendant alleges that Plaintiff is barred from seeking any damages for purported

                     14 physical, mental or emotional injuries allegedly suffered as a result of her employment in that the

                     15 sole and exclusive remedy in her respect is, and was, governed by the California Workers’

                     16 Compensation Act, California Labor Code §§ 3200-4627. See also Weil & Brown, Cal. Practice

                     17 Guide: Civil Procedure Before Trial (2016) para. 6:438.5, p. 6-130. .

                     18                          FORTY-SEVENTH AFFIRMATIVE DEFENSE

                     19                                  (No Intentional or Reckless Conduct)
                     20            49.   Defendant did not intentionally or recklessly discriminate, harass and/or inflict

                     21 emotional distress or intentionally commit any other tort as alleged by Plaintiff..

                     22                           FORTY-EIGHTH AFFIRMATIVE DEFENSE

                     23                                         (Pre-Existing Condition)

                     24            50.   Defendant alleges that to the extent Plaintiff suffered any symptoms of mental or

                     25 emotional distress or injuries, she was the result of a pre-existing psychological disorder or

                     26 alternative concurrent cause, and not the result of any act or omission of the answering Defendant.

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                      1                            FORTY-NINTH AFFIRMATIVE DEFENSE

                      2                                             (Abandonment)

                      3            51.   Plaintiff’s claims are barred, in whole or in part, because she resigned and/or

                      4 abandoned her employment.

                      5                               FIFTIETH AFFIRMATIVE DEFENSE

                      6                                 (No Entitlement to Punitive Damages)

                      7            52.   Plaintiff’s Complaint, and each and every cause of action set forth therein alleged

                      8 against Defendant, fails to state facts sufficient to recover punitive or exemplary damages or to

                      9 show that Defendant was guilty of malice, oppression or fraud as required by California Code of

                     10 Civil Procedure § 3294.

                     11                             FIFTY-FIRST AFFIRMATIVE DEFENSE

                     12                                               (No Notice)

                     13            53.   Defendant alleges that Plaintiff’s claims for relief including those under the Fair

                     14 Employment and Housing Act are barred because Defendant had no notice of any alleged

                     15 violation thereof.

                     16                            FIFTY-SECOND AFFIRMATIVE DEFENSE

                     17                                             (Mixed Motive)

                     18            54.   Plaintiff is precluded from recovery of reinstatement, back pay or damages because

                     19 of the mixed motive doctrine. Harris v. City of Santa Monica, 56 Cal.4th 203, 232 (2013).
                     20 Pursuant to Harris, which held that if Defendant wishes to assert the instant defense, Defendant

                     21 must plead “that if it is found that its actions were motivated by both discriminatory and

                     22 nondiscriminatory reasons, the nondiscriminatory reasons alone would have induced it to make the

                     23 same decision.” Id. at 240.

                     24                             FIFTY-THIRD AFFIRMATIVE DEFENSE

                     25                                           (Compliance with the Law)

                     26            55.   Defendant complied with all obligations under the law with respect to preventing

                     27 discrimination and retaliation, and handling employee complaints of discrimination and

                     28 retaliation.
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                      1                             FIFTY-FOURTH AFFIRMATIVE DEFENSE

                      2                                         (Procedural Due Process)

                      3            56.    Plaintiff’s Complaint, to the extent that it seeks punitive or exemplary damages,

                      4 violates the rights of Defendant to procedural due process under the Fourteenth Amendment to the

                      5 United States Constitution and under the Constitution of the State of California and, therefore,

                      6 fails to state a cause of action upon which punitive or exemplary damages may be awarded.

                      7                              FIFTY-FIFTH AFFIRMATIVE DEFENSE

                      8                                                (No Injury)

                      9            57.    Plaintiff has not suffered any compensable injury as a result of Defendant’s alleged

                     10 actions or alleged actions attributable to them, and as a result, she is not entitled to an award for

                     11 any such purported injuries. Defendant is informed and believes that all alleged economic injuries

                     12 are due to her malfeasance and/or pre-existing injuries.

                     13                              FIFTY-SIXTH AFFIRMATIVE DEFENSE

                     14                             (Actions Not Based on Protected Characteristic)

                     15 58.        No protected characteristic was a factor(s) or consideration(s) in any decision made by

                     16 Defendant concerning any of Plaintiff’s terms or conditions of employment.

                     17                            FIFTY-SEVENTH AFFIRMATIVE DEFENSE

                     18                                            (No Public Policy)

                     19            59.    The public policies cited by Plaintiff in the Complaint cannot serve as the
                     20 foundation for a claim of wrongful termination in violation of public policy because it has never

                     21 been recognized as public policies as defined in governing case law and are, in fact, inconsistent

                     22 with the public policies which have been so recognized, or are not applicable to the Defendant.

                     23                             FIFTY-EIGHTH AFFIRMATIVE DEFENSE

                     24                                    (No Discrimination or Retaliation)

                     25            60.    Plaintiff is precluded from recovery of reinstatement, back pay or damages because

                     26 Defendant did not authorize, direct, or participate in any alleged discriminatory or retaliatory

                     27 conduct against Plaintiff on any protected basis.

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                      1                                 FIFTY--NINTH AFFIRMATIVE DEFENSE

                      2                                                 (Undue Hardship)

                      3            61.   Plaintiff’s claims are barred to the extent that any alleged “reasonable

                      4 accommodation” would cause an “undue hardship” on Defendant.

                      5                                    SIXTIETH AFFIRMATIVE DEFENSE

                      6                                                (Health and Safety)

                      7            62.   Plaintiff is barred from recovering herein, in whole or in part, by reason of their

                      8 failure to perform their essential duties, even with reasonable accommodations, or cannot perform

                      9 those duties in a manner that would not endanger their health and safety or the health and safety of

                     10 others even with reasonable accommodation.

                     11                                  SIXTY-FIRST AFFIRMATIVE DEFENSE

                     12                            (Compliance with The Fair Employment and Housing Act)

                     13            63.   Defendant engaged in a timely, good faith, interactive process with Plaintiff to

                     14 determine if an effective reasonable accommodation was available.

                     15                                SIXTY-SECOND AFFIRMATIVE DEFENSE

                     16                                               (Essential Functions)

                     17            64.   Plaintiff’s claims are barred in whole or in part because Plaintiff was not able to

                     18 perform the essential functions of the job.

                     19                                  SIXTY-THIRD AFFIRMATIVE DEFENSE
                     20                                                (CFRA Exhaustion)

                     21            65.   Plaintiff is not entitled to California Family Rights Act (“CFRA”) leave, or Plaintiff

                     22 has exhausted all CFRA and/or Family and Medical Leave Act (“FMLA”) leave to which they are

                     23 entitled.

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                      1                                SIXTY-FOURTH AFFIRMATIVE DEFENSE

                      2                               (Plaintiff’s Claimed Disability Not a Factor)

                      3            66.   Defendant is informed and believes and thereon alleges that any recovery in

                      4 Plaintiff’s Complaint or any purported cause of action alleged therein is barred because Plaintiff’s

                      5 claimed disability was not a factor or consideration in any decision made by Defendant concerning

                      6 any of Plaintiff’s terms or conditions of employment.

                      7                                 SIXTY-FIFTH AFFIRMATIVE DEFENSE

                      8                                 (No Knowledge or Notice of Disability)

                      9            67.   Defendant is informed and believes and thereon alleges that Plaintiff’s claims for

                     10 relief pursuant to FEHA are barred because Defendant did not have knowledge or notice of

                     11 Plaintiff’s claimed disability at the time of any adverse employment action.

                     12                                 SIXTY-SIXTH AFFIRMATIVE DEFENSE

                     13                                     (Reasonable Accommodations)

                     14            68.   Defendant maintains that it made all accommodations that were reasonably

                     15 necessary to accommodate Plaintiff’s claimed disability.

                     16                           SIXTY-SEVENTH AFFIRMATIVE DEFENSE

                     17                                          (Unknown Defenses)

                     18            69.   Defendant is informed and believes and thereon alleges that it may have other

                     19 separate and/or additional defenses of which it is not aware, and hereby reserves the right to assert
                     20 them by amendment to this Answer as discovery continues. Such reservation is consistent with

                     21 Harris v. City of Santa Monica, 56 Cal.4th 203, 232 (2013) (“Harris”). Pursuant to Harris, if

                     22 Defendant wishes to assert the instant defense it must do so in order to preserve it. Id. at 240.

                     23                                        PRAYER FOR RELIEF

                     24            WHEREFORE, Defendant prays for judgment as follows:

                     25            1.    That Plaintiff take nothing by way of the Complaint or any of her purported claims

                     26 for relief;

                     27            2.    That the Complaint be dismissed with prejudice in its entirety;

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                      1            3.    That Plaintiff is denied each and every demand and prayer for relief contained in

                      2 the Complaint;

                      3            4.    That judgment be entered in favor of Defendant;

                      4            5.    That Defendant be awarded its reasonable attorneys’ fees and costs of the suit

                      5 incurred herein pursuant to section 218.5 of the California Labor Code, or to the extent otherwise

                      6 permitted by law; and

                      7            6.    That Defendant be awarded such other and further relief as the Court may

                      8 deem just and proper.

                      9

                     10 DATED: February 27, 2024                    LEWIS BRISBOIS BISGAARD & SMITH LLP

                     11

                     12
                                                                    By:
                     13                                                   ALEXANDER J. HARWIN
                                                                          Attorneys for Defendant, Amplity, Inc.
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                      1                       CALIFORNIA STATE COURT PROOF OF SERVICE
                                               RUKIYA GORDON v. AMPLITY HEALTH, ET AL.
                      2                        Antelope Valley Courthouse Case No. 23AVCV01245

                      3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                      4          At the time of service, I was over 18 years of age and not a party to this action. My
                          business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
                      5
                              On February 27, 2024, I served true copies of the following document(s): DEFENDANT
                      6 AMPLITY, INC.’S HEALTH’S ANSWER TO PLAINTIFF RUKIYA GORDON’S
                        COMPLAINT
                      7
                              I served the documents on the following persons at the following addresses (including fax
                      8 numbers and e-mail addresses, if applicable):

                      9 Steven Waisbren                                   Attorneys for Plaintiff,
                        LAW OFFICES OF STEVEN WAISBREN                    RUKIYA GORDON
                     10 5850 Canoga Avenue
                        Suite 400
                     11 Woodland Hills, California 91367
                        Tel: (818) 710-7102
                     12 Fax: (818) 532-1214
                        Email: steve@waisbrenlaw.com
                     13
                               The documents were served by the following means:
                     14
                              (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                     15        agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                               documents to be sent from e-mail address Elizabeth.Solidum@lewisbrisbois.com to the
                     16        persons at the e-mail addresses listed above. I did not receive, within a reasonable time
                               after the transmission, any electronic message or other indication that the transmission was
                     17        unsuccessful.
                     18          I declare under penalty of perjury under the laws of the State of California that the
                          foregoing is true and correct.
                     19
                                   Executed on February 27, 2024, at Los Angeles, California.
                     20

                     21

                     22

                     23                                                     Elizabeth S. Solidum

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